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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                           )
In re:                                                     ) Chapter 11
                                                           )
ANAGRAM HOLDINGS, LLC, et al.,1                            ) Case No. 23-90901 (MI)
                                                           )
                 Debtors.                                  ) (Jointly Administered)
                                                           )


                    SCHEDULES OF ASSETS AND LIABILITIES FOR
                  ANAGRAM INTERNATIONAL, INC. (CASE NO. 23-90902)




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Anagram Holdings, LLC (8535); Anagram International, Inc. (2523) and Anagram International
    Holdings, Inc. (5837). The location of the Debtors’ service address for purposes of these chapter 11 cases is:
    7700 Anagram Drive, Eden Prairie, MN 55344. For the avoidance of doubt, the Debtors’ chapter 11 cases are
    not proposed to be consolidated with Party City Holdco Inc. and its affiliate debtors (collectively, “Party City”)
    which emerged from chapter 11 cases in this Court on October 12, 2023. See In re Party City Holdco Inc., et.
    al., Case No. 23-90005 (MI) (Bankr. S.D. Tex). Any reference herein to the Debtors does not include the
    debtor-entities that were administered in the Party City chapter 11 cases.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                 )
    In re:                                                       )        Chapter 11
                                                                 )
                                                   1
    ANAGRAM HOLDINGS, LLC, et al.,                               )        Case No. 23-90901 (MI)
                                                                 )
                                        Debtors.                 )        (Jointly Administered)
                                                                 )

                             GLOBAL NOTES AND
                 STATEMENT OF LIMITATIONS, METHODOLOGY,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Anagram Holdings, LLC (“Anagram”) and its direct and indirect subsidiaries, as debtors and
debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) have filed
their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements,” and together with the Schedules, the “Schedules and Statements”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).
The Debtors’ management, with the assistance of their advisors, prepared the Schedules and
Statements in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy
Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
rule 1007-1 of the Bankruptcy Local Rules for the Southern District of Texas
(the “Bankruptcy Local Rules”).

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
                    2
(the “Global Notes”) pertain to, are incorporated by reference in, and constitute an integral part

1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Anagram Holdings, LLC (8535); Anagram International, Inc. (2523) and Anagram International
     Holdings, Inc. (5837). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 7700
     Anagram Drive, Eden Prairie, MN 55344. For the avoidance of doubt, the Debtors’ chapter 11 cases are not
     proposed to be consolidated with Party City Holdco Inc. and its affiliate debtors (collectively, “Party City”) which
     emerged from chapter 11 cases in this Court on October 12, 2023. See In re Party City Holdco Inc., et. al., Case
     No. 23-90005 (MI) (Bankr. S.D. Tex). Any reference herein to the Debtors does not include the debtor-entities that
     were administered in the Party City chapter 11 cases.
2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of Debtor’s individual
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate. Disclosure of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule
     or Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement, exhibit,
     or attachment.
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of all of the Debtors’ Schedules and Statements. The Global Notes should be referred to,
considered, and reviewed in connection with any review of the Schedules and Statements. To the
extent that the Schedules and Statements conflict with these Global Notes, these Global Notes shall
control.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of the Schedules
and Statements under the circumstances, based on information available at the time of preparation,
subsequent information or discovery may result in material changes to the Schedules and
Statements. As a result, inadvertent errors or omissions may exist. The Schedules and Statements
are unaudited and subject to potential adjustment. Because the Schedules and Statements contain
unaudited information and remain subject to further review, verification, and potential adjustment,
there can be no assurance that the Schedules and Statements are complete. For the avoidance of
doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules and
Statements as may be necessary or appropriate and nothing contained in the Schedules and
Statements shall constitute a waiver of any right of the Debtors to amend or supplement the
Schedules and Statements from time to time, as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
do not undertake any obligation to update, modify, revise, or re-categorize the information
provided herein or to notify any third party should the information be updated, modified, revised,
or re-categorized, except as required by applicable law. In no event shall the Debtors or their
agents, attorneys, and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

         Christopher Wiles, Vice President Finance & Administration of Anagram and an
authorized signatory for each of the Debtors, has signed each set of the Schedules and Statements.
In reviewing and signing the Schedules and Statements, Mr. Wiles has necessarily relied upon the
efforts, statements, advice, and representations of various personnel employed by the Debtors and
the Debtors’ advisors. Mr. Wiles has not (and could not have) personally verified the accuracy of
each such statement and representation, including statements and representations concerning
amounts owed to creditors, classification of such amounts, and creditor addresses.

        The Schedules and Statements and Global Notes should not be relied upon by any persons
for information relating to current or future financial conditions, events, or performances of the
Debtors.




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                                Global Notes and Overview of Methodology

1.        Description of Cases and “As Of” Information Date. On November 8, 2023,
          (the “Petition Date”), each of the Debtors filed voluntary petitions for relief under
          chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and
          managing their property as debtors in possession pursuant to sections 1107(a) and 1108 of
          the Bankruptcy Code.

          The Debtors’ chapter 11 cases are being jointly administered for procedural purposes only
          pursuant to Rule 1015(b) of the Bankruptcy Rules and Rule 1015-1 of the Local Rules
          under Case No. 23-90901 (MI). Notwithstanding the joint administration of the Debtors’
          cases for procedural purposes, each Debtor has filed its own Schedules and Statements. On
          November 20, 2023, the Office of the U.S. Trustee for the Southern District of Texas
          appointed the Official Committee of Unsecured Creditors. No trustee or examiner has been
          appointed in these chapter 11 cases.

          The asset information provided herein represents the asset data of the Debtors as of the
          close of business on October 31, 2023 (the “Reporting Date”), except as otherwise noted.
          The liability information provided herein represents the liability data of the Debtors as of
          the Petition Date, except as otherwise noted.

2.        Reservations and Limitations. Reasonable efforts have been made to prepare and file
          complete and accurate Schedules and Statements; however, as noted above, inadvertent
          errors or omissions may exist. The Debtors reserve all rights to: (a) amend and supplement
          the Schedules and Statements from time to time, in all respects, as may be necessary or
          appropriate, including the right to amend the Schedules and Statements with respect to the
                                                                                                   3
          description, designation, or Debtor against which any claim against a Debtor (“Claim”) is
          asserted; (b) dispute or otherwise assert offsets or defenses to any Claim reflected in the
          Schedules and Statements as to amount, liability, priority, status, or classification;
          (c) subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
          (d) object to the extent, validity, enforceability, priority, or avoidability of any Claim
          (regardless of whether such Claim is designated in the Schedules and Statements as
          “disputed,” “contingent,” or “unliquidated”). Any failure to designate a Claim in the
          Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Debtors that such Claim or amount is not “disputed,”
          “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
          liability by the Debtor against which the Claim is listed or against any of the Debtors.
          Furthermore, nothing contained in the Schedules and Statements constitutes a waiver of
          any of the Debtors’ rights or an admission of any kind with respect to these chapter 11
          cases, including, but not limited to, any rights or Claims of the Debtors against any third
          party or issues involving Claims, substantive consolidation, equitable subordination, or
          defenses and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy
          Code or any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets

3    For the purposes of these Global Notes, the term “Claim” shall have the meaning set forth in section 101(5) of the
     Bankruptcy Code.



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or avoid transfers. Any specific reservation of rights contained elsewhere in the Global
Notes does not limit in any respect the general reservation of rights contained in this
paragraph. Notwithstanding the foregoing, the Debtors shall not be required to update the
Schedules and Statements, except as may be required by applicable law.

(a)    Recharacterization. Notwithstanding the Debtors’ commercially reasonable
       efforts to properly characterize, classify, categorize, or designate certain Claims,
       assets, liabilities, executory contracts, unexpired leases, and other items reported in
       the Schedules and Statements, the Debtors may nevertheless have improperly
       characterized, classified, categorized, designated, or omitted certain items due to
       the complexity and size of the Debtors’ businesses. Accordingly, the Debtors
       reserve all of their rights to recharacterize, reclassify, recategorize, redesignate,
       add, or delete items reported in the Schedules and Statements at a later time as is
       necessary or appropriate as additional information becomes available, including,
       without limitation, whether contracts or leases listed herein were deemed executory
       or unexpired as of the Petition Date and remain executory and unexpired
       postpetition.

(b)    Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on
       Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
       “executory” or “unexpired” does not constitute an admission by the Debtors of the
       legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
       rights to recharacterize or reclassify such Claim or contract or to setoff of such
       Claim.

(c)    Claims Description. Schedules D and E/F permit each of the Debtors to designate
       a Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to
       designate a Claim on a given Debtor’s Schedules and Statements as “disputed,”
       “contingent,” or “unliquidated” does not constitute an admission by that Debtor that
       such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim
       is not subject to objection. The Debtors reserve all rights to dispute, or assert offsets
       or defenses to, any Claim reflected on their respective Schedules and Statements
       on any grounds, including, without limitation, liability or classification.
       Additionally, the Debtors expressly reserve all rights to subsequently designate
       such Claims as “disputed,” “contingent,” or “unliquidated” or object to the extent,
       validity, enforceability, priority, or avoidability of any Claim. Moreover, listing a
       Claim does not constitute an admission of liability by the Debtor against which the
       Claim is listed or by any of the Debtors. The Debtors reserve all rights to amend
       Schedules and Statements as necessary and appropriate, including, but not limited
       to, with respect to Claim description and designation.

(d)    Estimates and Assumptions. The preparation of the Schedules and Statements
       required the Debtors to make reasonable estimates and assumptions with respect to
       the reported amounts of assets and liabilities, the amount of contingent assets and
       contingent liabilities on the date of the Schedules and Statements, and the reported
       amounts of revenues and expenses during the applicable reporting periods. Actual
       results could differ materially from such estimates. The Debtors reserve all rights


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      to amend the reported amounts of assets and liabilities to reflect changes in
      estimates or assumptions.

(e)   Causes of Action. Despite reasonable efforts to identify all known assets, the
      Debtors may not have identified and/or set forth all of their claims or causes of
      action (filed or potential) against third parties as assets in their Schedules and
      Statements, including, without limitation, claims or causes of action that are
      required to be kept confidential and claims or causes of action arising under the
      provisions of chapter 5 of the Bankruptcy Code and actions under other relevant
      bankruptcy and non-bankruptcy laws to recover assets or avoid transfers. The
      Debtors reserve all rights with respect to any claims and causes of action (including
      avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
      recoupment and any claim on contracts or for breaches of duties imposed by law or
      in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
      damage, judgment, account, defense, power, privilege, license, and franchise of any
      kind or character whatsoever, known, unknown, fixed or contingent, matured or
      unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
      undisputed, secured or unsecured, assertable directly or derivatively, whether
      arising before, on, or after the Petition Date, in contract or in tort, in law or in equity,
      or pursuant to any other theory of law (collectively, “Causes of Action”) they may
      have, and neither these Global Notes nor the Schedules and Statements shall be
      deemed a waiver of any claims or Causes of Action or in any way prejudice or
      impair the assertion of such claims or Causes of Action.

(f)   Intellectual Property Rights. Exclusion of certain intellectual property should not
      be construed to be an admission that such intellectual property rights have been
      abandoned, have been terminated or otherwise expired by their terms, or have been
      assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Conversely, inclusion of certain intellectual property shall not be
      construed to be an admission that such intellectual property rights have not been
      abandoned, have not been terminated or otherwise expired by their terms, or have
      not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Accordingly, the Debtors reserve all of their rights with respect to the
      legal status of any and all such intellectual property rights.

(g)   Insiders. In instances where the Schedules and Statements require information
      regarding “insiders,” the Debtors have included information with respect to the
      individuals and entities who the Debtors believe may be included in the definition
      of “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
      time periods. Such individuals may no longer serve in such capacities.

      The listing or omission of a party as an insider for purposes of the Schedules and
      Statements is for informational purposes and is not intended to be, nor should it be,
      construed as an admission of the legal characterization of such party as an insider
      for purpose of section 101(31) of the Bankruptcy Code and does not act as an
      admission of any fact, Claim, right, or defense, and all such rights, Claims, and
      defenses are hereby expressly reserved. Information regarding the individuals


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           listed as insiders in the Schedules and Statements may not be used for: (i) the
           purposes of determining (A) control of the Debtors; (B) the extent to which any
           individual exercised management responsibilities or functions; (C) corporate
           decision-making authority over the Debtors; or (D) whether such individual could
           successfully argue that he or she is not an insider under applicable law, including
           the Bankruptcy Code and federal securities laws, or with respect to any theories of
           liability or (ii) any other purpose.

3.   Methodology.

     (a)   Basis of Presentation. Debtor Anagram Holdings, LLC directly or indirectly owns
           100% of the equity of the other Debtors. The Debtors prepare consolidated financial
           statements, which are typically audited annually. Combining the assets and
           liabilities set forth in the Debtors’ Schedules and Statements would result in
           amounts that would be substantially different from financial information that would
           be prepared on a consolidated basis under Generally Accepted Accounting
           Principles (“GAAP”). Therefore, the Schedules and Statements do not purport to
           represent financial statements prepared in accordance with GAAP nor are they
           intended to fully reconcile to the consolidated financial statements prepared by the
           Debtors. Unlike the consolidated financial statements, the Schedules and
           Statements reflect the assets and liabilities of each separate Debtor, except where
           otherwise indicated. Additionally, the Schedules and Statements contain unaudited
           information that is subject to further review and potential adjustment and reflect the
           Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on an
           unconsolidated basis.

     (b)   Comprehensive Enterprise. The Debtors utilize a central and consolidated cash
           management system, which consists of multiple bank accounts
           (the “Cash Management System”), as described in further detail in the Debtors’
           Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
           Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
           Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business
           Forms and Books and Records, and (D) Continue to Perform Intercompany
           Transactions and (II) Granting Related Relief [Docket No. 14] (the “Cash
           Management Motion”). The Debtors manage the cash within the Cash Management
           System by transferring funds among bank accounts as needed based on cash
           receipts and disbursements. Certain payments in the Schedules and Statements may
           have been made by one legal entity on behalf of another legal entity through the Cash
           Management System. The Bankruptcy Court has entered orders authorizing the
           Debtors to continue using the Cash Management System [Docket No. 84, 217]
           (the “Cash Management Orders”). The Debtors’ treasury and accounting
           departments regularly reconcile the Debtors’ books and records to ensure that all
           transfers are accounted for properly. Thus, the Debtors’ debits and credits are
           known and recorded. Although diligent efforts have been made to set forth open
           payable amounts and Claims on the Schedules and Statements of the correct legal
           entity, the Debtors reserve the right to modify or amend the Schedules and



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      Statements to update payable amounts or attribute open payable amounts and
      Claims to a different legal entity, if necessary or appropriate.

(c)   Confidential Information. There may be instances in the Schedules and
      Statements where the Debtors deemed it necessary and appropriate to redact from
      the public record information such as names, addresses, or amounts. Pursuant to
      the Order (I) Authorizing the Debtors to (A) File a Consolidated List of Creditors,
      (B) File a Consolidated List of the 30 Largest Unsecured Creditors, and (C) Redact
      Certain Personal Identification Information; (II) Approving the Forn and Manner
      of Notifying Creditors of the Commencement of These Chapter 11 Cases; and (III)
      Granting Related Relief [Docket No. 132] (the “Creditor Matrix Order”), the
      Bankruptcy Court has authorized the Debtors to redact certain personally
      identifiable information on the Debtors’ Schedules and Statements In addition, the
      Debtors may have redacted certain information where an agreement between the
      Debtors and a third party, concerns of confidentiality, the protection of sensitive
      commercial information, or concerns for the privacy of individuals, including
      employees, so requires. Moreover, the very existence of certain agreements may
      be (by the terms of such agreements) confidential. These agreements have been
      noted, however, as “Confidential” in the Schedules and Statements, where
      applicable. The alterations or redactions are limited only to what the Debtors
      believe is warranted.

(d)   Executory Contracts. Although the Debtors have made reasonable efforts to
      attribute each executory contract to its rightful Debtor, in certain instances, the
      underlying executory contract may not specify the particular Debtor legal entity
      that is party to the contract. Accordingly, the Debtors reserve all of their rights with
      respect to the named parties of any and all executory contracts, including the right
      to amend Schedule G. In addition, although the Debtors have made reasonable
      efforts to properly identify executory contracts and unexpired leases, the inclusion
      of a contract or lease on Schedule G does not constitute an admission as to the
      executory or unexpired nature (or non-executory or expired nature) of the contract
      or lease, or an admission as to the existence or validity of any Claims held by the
      counterparty to such contract or lease.

      (i)    Furthermore, the Debtors may be third party beneficiaries under certain
             contracts where a Party City entity is the named contract counterparty. The
             Debtors have not included such contracts on the Schedules and Statements
             because they are not a contract counterparty, however, the Debtors reserve
             all their rights, as a third party beneficiary or otherwise, with respect to such
             contracts.

(e)   Leases. The Debtors have not included the future obligations of any capital or
      operating leases in the Schedules and Statements. To the extent that there was an
      amount outstanding as of the Petition Date, the creditor has been included on
      Schedule E/F.




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      In the ordinary course of business, certain of the Debtors may enter into agreements
      titled as leases for property, other real property interests, and equipment from third
      party lessors for use in the daily operation of their business. Any known prepetition
      obligations of the Debtors for equipment or similar leases have been listed on
      Schedule D or Schedule E/F as applicable, along with the lease counterparties, and
      the underlying lease agreements are listed on Schedule G, or, if the leases are in the
      nature of real property interests under applicable state laws, on Schedule A.
      Nothing in the Schedules or Statements is, or shall be construed to be, an admission
      as to the determination of the legal status of any lease (including whether any lease
      is a true lease, a financing arrangement, or a real property interest), and the Debtors
      reserve all rights with respect to such issues.

(f)   Net Book Value. In certain instances, current market valuations for individual
      items of property and other assets are neither maintained by, nor readily available
      to, the Debtors. It would be prohibitively expensive, unduly burdensome, and an
      inefficient use of estate assets for the Debtors to obtain current market valuations
      of all of their assets. Unless otherwise noted, the Schedules and Statements reflect
      net book values as of the Reporting Date. Exceptions to this include operating cash,
      cash equivalents, and certain other assets. Operating cash is presented as bank
      balances as of the Petition Date. Certain other assets, such as investments in
      subsidiaries and other intangible assets, are listed at undetermined amounts, as the
      net book values may vary materially from fair market values. Certain assets that
      have been fully depreciated or that were expensed for accounting purposes either
      do not appear in the Schedules and Statements or are listed with a zero-dollar value,
      as such assets have no net book value. The omission of an asset from the Schedules
      and Statements does not constitute a representation regarding the ownership of such
      asset, and any such omission does not constitute a waiver of any rights of the
      Debtors with respect to such asset.

      The book values of certain assets may materially differ from amounts ultimately
      realized, their fair market values and/or the Debtors’ enterprise valuation that may
      subsequently be prepared. For the avoidance of doubt, nothing contained in the
      Schedules and Statements is indicative of the Debtors’ enterprise value.
      Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the
      value of each asset set forth herein. In addition, the amounts shown for total
      liabilities exclude items identified as “unknown” or “undetermined,” and, thus,
      ultimate liabilities may differ materially from those stated in the Schedules and
      Statements.

      Book values of assets prepared in accordance with GAAP generally do not reflect
      the current performance of the assets or the impact of the industry environment and
      may differ materially from the actual value and/or performance of the underlying
      assets.

(g)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
      and postpetition periods based on the information and research conducted in
      connection with the preparation of the Schedules and Statements. As additional


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      information becomes available and further research is conducted, the allocation of
      liabilities between the prepetition and postpetition periods may change.
      Accordingly, the Debtors reserve all of their rights to amend, supplement, or
      otherwise modify the Schedules and Statements as necessary or appropriate.

      The Debtors reserve all of their rights to dispute or challenge the validity of any
      asserted Claims under section 503(b)(9) of the Bankruptcy Code or the
      characterization of the structure of any such transaction or any document or
      instrument related to any creditor’s Claim.

(h)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
      or “undetermined” is not intended to reflect upon the materiality of such amount.

(i)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
      Debtors are scheduled as “unliquidated.”

(j)   Zero Dollar Amounts. Amounts listed as zero are either $0, unliquidated, or
      undetermined.

(k)   Totals. All totals that are included in the Schedules and Statements represent totals
      of all known amounts. To the extent there are unknown or undetermined amounts,
      the actual total may be different than the listed total.

(l)   Paid Claims. Pursuant to certain interim and final “first day” orders entered by the
      Bankruptcy Court in these chapter 11 cases (the “First Day Orders”), the Debtors
      were authorized (but not directed) to pay in their discretion certain Claims on a
      postpetition basis; as such, outstanding liabilities may have been reduced by any
      court-approved postpetition payments made on prepetition payables. Where and to
      the extent these liabilities have been satisfied, they may not be listed in the
      Schedules and Statements. To the extent the Debtors later pay any amount of the
      Claims listed in the Schedules and Statements pursuant to any orders entered by the
      Bankruptcy Court, the Debtors reserve all rights to amend or supplement the
      Schedules and Statements or to take other action, such as filing claims objections,
      as is necessary and appropriate to avoid overpayment or duplicate payments for
      liabilities.

(m)   Intercompany Claims. As described more fully in the Cash Management Motion,
      the Debtors engage in a range of intercompany transactions in the ordinary course
      of business. Pursuant to the Cash Management Orders, the Bankruptcy Court has
      granted the Debtors authority to continue the intercompany transactions in the
      ordinary course of business. As described in the First Day Declaration, the Debtors’
      relationship with Party City is governed primarily by three intercompany contracts
      and, in the ordinary course of business, the Debtors and Party City settle amounts
      owed under such intercompany contracts either in cash or through set off. As of the
      Petition Date, the intercompany balance between the Debtors and Party City
      reflected a net receivable, which is set forth on Schedule A/B, Part 3. Individual set




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      offs, however, are excluded from the Schedules and Statements. The Debtors and
      all parties-in-interest reserve all rights with respect to such accounts.

      (i)    Any cash payments from the Debtors to non-Debtor affiliates, including
             Party City, in the year leading up to the Petition Date are included in the
             Statements on Part 2, Question 4.

(n)   Guarantees and Other Secondary Liability Claims. The Debtors have used their
      reasonable efforts to locate and identify guarantees and other secondary liability
      claims (collectively, the “Guarantees”) in their executory contracts, unexpired
      leases, debt instruments, and other such agreements. Where such Guarantees have
      been identified, they have been included in the relevant Schedule for the Debtor or
      Debtors affected by such Guarantees. However, certain Guarantees embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt
      instruments, and other agreements may have been inadvertently omitted. The
      Debtors believe that certain Guarantees embedded in the Debtors’ executory
      contracts, unexpired leases, other secured financing, debt instruments, and similar
      agreements may exist and, to the extent they do, will be identified upon further
      review. Therefore, the Debtors reserve their rights to amend the Schedules to the
      extent additional Guarantees are identified.

(o)   Excluded Assets and Liabilities. The Debtors have excluded the following
      categories of assets and liabilities from the Schedules and Statements: certain
      deferred charges, accounts, or reserves recorded only for purposes of complying
      with the requirements of GAAP; deferred tax assets and liabilities; goodwill and
      other intangibles; deferred revenue accounts; and certain accrued liabilities
      including, but not limited to, accrued salaries and employee benefits. The Debtors
      also have excluded rejection damage Claims of counterparties to executory
      contracts and unexpired leases that have not been rejected, to the extent such
      damage Claims exist. The Debtors have also excluded unbilled receivables,
      customer advances, billings in excess of cost and allowances for doubtful accounts.
      The Debtors also have excluded worker’s compensation Claims to maintain the
      privacy of the claimants. In addition, other immaterial assets and liabilities may
      also have been excluded.

(p)   Employee Claims. The Bankruptcy Court entered a final order granting authority,
      but not requiring, the Debtors to pay prepetition employee wages, salaries, benefits,
      and other related obligations. The Debtors currently expect that all prepetition
      employee Claims for wages, salaries, benefits, and other related obligations either
      have been paid or will be paid in the ordinary course of business and, therefore, the
      Schedules and Statements do not include such Claims.

(q)   Liens. The inventories, property, and equipment listed in the Schedules and
      Statements are presented without consideration of any liens that may attach (or have
      attached) to such property and equipment.

(r)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.



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(s)   Credits and Adjustments. The Claims of individual creditors for, among other
      things, goods, products, or services are listed as amounts entered on the Debtors’
      books and records and may not reflect credits, allowances, or other adjustments due
      from such creditors to the Debtors. The Debtors reserve all of their rights respecting
      such credits, allowances and other adjustments.

(t)   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
      course of business. Such setoffs and nettings may occur due to a variety of
      transactions or disputes including, but not limited to, intercompany transactions,
      counterparty settlements, pricing discrepancies, rebates, returns, warranties,
      refunds, and negotiations and/or disputes between Debtors and their customers
      and/or suppliers. These normal, ordinary course setoffs and nettings are common
      to the Debtors’ business and are consistent with the ordinary course business of the
      Debtors’ industry. Due to the voluminous nature of setoffs and nettings, it would
      be unduly burdensome and costly for the Debtors to list each such transaction.
      Therefore, although such setoffs and other similar rights may have been accounted
      for when scheduling certain amounts, these ordinary course setoffs are not
      independently accounted for, and as such, are or may be excluded from the
      Schedules and Statements. In addition, some amounts listed in the Schedules and
      Statements may have been affected by setoffs or nettings by third parties of which
      the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff
      and/or recoupment rights that may be asserted. Any setoff of a prepetition debt to
      be applied against the Debtors is subject to the automatic stay and must comply
      with section 553 of the Bankruptcy Code. The Debtors reserve all rights with
      respect thereto, including the right to amend the setoff amounts.

(u)   Contingent Assets. The Debtors believe that they may possess certain claims and
      causes of action against various parties. The Debtors may also possess contingent
      claims in the form of various avoidance actions they could commence under the
      provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy
      laws. The Debtors, despite reasonable efforts, may not have set forth all of their
      causes of action against third parties as assets in their Schedules and Statements.
      The Debtors reserve all of their rights with respect to any claims, causes of action,
      or avoidance actions they may have and nothing contained in these Global Notes
      or the Schedules and Statements shall be deemed a waiver of any such claims,
      avoidance actions, or causes of action or in any way prejudice or impair the
      assertion of such claims.

(v)   Receivables. The Debtors have included only the aggregate book value of accounts
      receivables and have not listed individual customer receivable balance information
      as the Debtors consider their customer list to be proprietary and confidential.

(w)   Fiscal Year. Each Debtor’s fiscal year ends on December 31.

(x)   Claims of Third-Party Related Entities. While the Debtors have made every
      effort to properly classify each claim listed in the Schedules as being either disputed
      or undisputed, liquidated or unliquidated, and contingent or noncontingent, the



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               Debtors have not been able to fully reconcile all payments made to certain third
               parties and their related entities on account of the Debtors’ obligations to such
               parties. Therefore, to the extent the Debtors have classified their estimate of claims
               of a creditor as disputed, all claims of such creditor’s affiliates listed in the
               Schedules and Statements shall similarly be considered disputed, whether or not
               they are designated as such.

                                  Specific Schedules Disclosures

       Schedules Summary. The asset information provided represents the asset data of the
Debtors as of the close of business on the Reporting Date, except as otherwise noted. The liability
information represents the liability data of the Debtors as of the Petition Date, except as otherwise
noted.

         The Schedules do not purport to represent financial statements prepared in accordance with
GAAP, nor are they intended to be fully reconciled with the financial statements of each Debtor.
Certain write-downs, impairments, and other accounting adjustments may not be reflected in the
Schedules. Additionally, the Schedules contain unaudited information that is subject to further
review and potential adjustment and reflect the Debtors’ reasonable efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis. Moreover, given, among other things, the
uncertainty surrounding the collection and ownership of certain assets and the valuation and nature
of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission as to the Debtor’s solvency as of the Petition Date or at any time before the Petition
Date. Likewise, to the extent a Debtor shows more liabilities than assets, this is not an admission
that the Debtor was insolvent as of the Petition Date or at any time before the Petition Date.

1.     Schedule A/B

       (a)     Unless otherwise stated, that amounts in Schedule A/B are as of the Reporting Date.

       (b)     Parts 1 and 2 – Cash and Cash Equivalents; Deposits and Prepayments.

                  Details with respect to the Debtors’ Cash Management System and bank
                   accounts are provided in the Cash Management Motion and the Cash
                   Management Orders. The balances of the financial accounts listed on Schedule
                   A/B, Part 1, are as of the Petition Date.

                  Additionally, the Court, pursuant to the Order (I) Approving the Debtors’
                   Proposed Adequate Assurance of Payment for Future Utility Services, (II)
                   Prohibiting Utility Providers from Altering, Refusing, or Discontinuing
                   Services, (III) Approving the Debtors’ Proposed Procedures for Resolving
                   Additional Assurance Requests, and (IV) Granting Related Relief [Docket
                   No. 89], has authorized the Debtors to provide adequate assurance of payment
                   for future utility services. Such deposits are not listed on Schedule A/B, Part 2,
                   which has been prepared as of the Reporting Date.




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         The balances of deposits and prepayments presented on Schedule A/B, Parts 1
          and 2 are as of the Reporting Date.

(c)   Part 3 – Accounts Receivable.

         Amounts listed reflect gross amounts received or face amounts requested.

         Intercompany receivable amounts included in accounts receivable totals are net
          of intercompany payables or chargebacks.

(d)   Parts 5, 7, 8, and 9 – Inventory, Excluding Agriculture Assets; Office
      Furniture, Fixtures, and Equipment; and Collectibles; Machinery,
      Equipment, and Vehicles; Real Property.

         AB19-22 Date of last physical inventory: The Debtors perform daily cycle
          counts at their distribution center and inventory counts at their manufacturing
          facility.

         AB25: Pursuant to the amounts set forth in the Debtors’ Emergency Motion for
          Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay Certain
          Prepetition Claims of (A) Critical Vendors, (B) Lien Claimants, (C) Foreign
          Vendors, and (D) 503(b)(9) Claimants, (II) Confirming Administrative Expense
          Priority of Outstanding Orders, and (III) Granting Related Relief [Docket No.
          11] (the “CV Motion”), the Debtors estimate that they owe approximately
          $6,300,000 in prepetition Trade Claims (as defined in the CV Motion). The
          Debtors estimate approximately $4,200,000 of goods were delivered in the 20
          days preceding the Petition Date, however, a determination of what raw
          materials, work in progress or finished goods were purchased during that time
          period is not possible with the information available.

         An external or professional valuation of the Debtors’ inventory has not been
          undertaken.

         Dollar amounts are presented net of accumulated depreciation and other
          adjustments as of the Reporting Date.

         AB 39,40,41,50: Items have been set forth according to categories delineated
          in the Debtors’ books and records. Individual items are available upon request.

         AB 55-58: The Debtors considered both owned real property and ground leases
          to which the respective Debtor is a lessee in responding to Schedule A/B,
          Questions 55–58. In addition, the real property leases to which a Debtor is a
          lessee or lessor are listed in Schedule G. To the extent any interest in such leases
          is listed on Schedule G but not Schedule A/B, such interests are incorporated
          into Schedule A/B, Questions 55–58 by reference.

(e)   Part 10 – Intangibles and Intellectual Property.



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         Identifies value ascribed by the Debtors to various intangible assets including
          copyrights, patents, trademarks, registered internet domains and websites, and
          licenses.

(f)   Part 11 – All Other Assets.

         Other Contingent and Unliquidated Claims or Causes of Action of Every
          Nature, including Counterclaims of the Debtor and Rights to Setoff Claims.
          In the ordinary course of their businesses, the Debtors may have accrued, or
          may subsequently accrue, certain rights to claims, counter-claims, cross-claims,
          setoffs, refunds with their suppliers or potential warranty claims against their
          suppliers. The Debtors’ failure to list any cause of action, claim, or right of any
          nature is not an admission that such cause of action, claim, or right does not
          exist, and should not be construed as a waiver of such cause of action, claim, or
          right.

         Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
          policies and related information is available in the Final Order (I) Authorizing
          the Debtors to (A) Continue Prepetition Insurance Coverage and Satisfy
          Prepetition Obligations Related Thereto, (B) Renew, Amend, Supplement,
          Extend, or Purchase Insurance Policies, and (C) Maintain their Surety Bond
          Program, and (II) Granting Related Relief [Docket No. 227] (the “Insurance
          Order”). As discussed in the Insurance Order, the Debtors are named as insured
          parties and receive coverage under Party City’s insurance policies with respect
          to certain of the insurance policies. The Debtors believe that there is little or no
          cash value to the vast majority of such insurance policies. All insurance policies
          listed in response to Schedule A/B 73 are current as of December 1, 2023.

(g)   Schedule D – Creditors Who Have Claims in Property.

         The outstanding amounts under the Debtors’ 15.00% PIK/Cash Senior Secured
          First Lien Notes due 2025, 10.00% PIK/Cash Senior Secured Second Lien
          Notes due 2026 and asset-based lending facility are set forth in their respective
          outstanding principal amounts as of the Petition Date.

         Reference to the applicable indentures, loan agreements and related documents
          is necessary for a complete description of the collateral and the nature, extent,
          and priority of any liens. Detailed descriptions of the Debtors' prepetition debt
          structure, priority of any liens, guarantees, and descriptions of collateral relating
          to the bank debt contained on Schedule D are contained in the Declaration of
          Adrian Frankum in Support of Debtors' Chapter 11 Petitions and First Day
          Motions [Docket No. 19] (the “First Day Declaration”).

         Although there are multiple parties that hold a portion of the debt included in
          the Debtors’ prepetition funded debt, only the applicable administrative agent
          or indenture trustee has been listed for purposes of Schedule D.




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         Except as otherwise agreed pursuant to a stipulation, or agreed order, or general
          order entered by the Bankruptcy Court that is or becomes final, the Debtors and
          their estates reserve their rights to dispute or challenge the validity, perfection,
          or immunity from avoidance of any lien purported to be granted or perfected in
          any specific asset to a creditor listed on Schedule D of any Debtor. Moreover,
          although the Debtors may have scheduled claims of various creditors as secured
          claims, the Debtors reserve all rights to dispute or challenge the secured nature
          of any such creditor’s claim or the characterization of the structure of any such
          transaction or any document or instrument (including, without limitation, any
          intercompany agreement) related to such creditor’s claim.

         Further, nothing on Schedule D shall be deemed an admission as to the validity
          of any lien. The Debtors made reasonable, good-faith efforts to include all liens
          on Schedule D, but may have inadvertently omitted an existing lien because of,
          among other things, the possibility that a lien may have been imposed after the
          Uniform Commercial Code searches were performed or a vendor may not have
          filed the requisite perfection documentation. Moreover, the Debtors have not
          included on Schedule D parties that may believe their Claims are secured
          through setoff rights or inchoate statutory lien rights.

(h)   Schedule E/F – Creditors Who Have Unsecured Claims

      Part 1 – Creditors with Priority Unsecured Claims. Pursuant to the Final Order
      (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
      Relief [Docket No. 218] (the “Taxes Order”), the Debtors have been granted the
      authority to pay, in their discretion, certain tax liabilities that accrued prepetition.
      Accordingly, any unsecured priority claims based upon prepetition tax accruals that
      have been paid pursuant to the Taxes Order may not be listed in Schedule E.

      Furthermore, pursuant to the Order (I) Authorizing the Debtors to (A) Pay
      Prepetition Wages, Salaries, Other Compensation, and Reimbursement Expenses
      and (B) Continue Employee Benefits Programs, and (II) Granting Related Relief
      [Docket No. 83] (the “Wages Order”), the Debtors received final authority to pay
      certain prepetition obligations, including to pay employee wages and other
      employee benefits, in the ordinary course of business. The Debtors believe that any
      non-insider employee claims for prepetition amounts related to ongoing payroll and
      benefits, whether allowable as a priority or nonpriority claim, have been or will be
      satisfied, and such satisfied amounts are not listed.

      The listing of a Claim on Schedule E/F, Part 1, does not constitute an admission by
      the Debtors that such Claim or any portion thereof is entitled to priority status.

      Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified
      in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
      Debtors made a reasonable attempt to set forth their unsecured obligations,
      although the actual amount of Claims against the Debtors may vary from those
      liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect



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      the correct amount of any unsecured creditor’s allowed Claims or the correct
      amount of all unsecured claims. Amounts shown are as of the Petition Date.
      However, to the extent that payments were made under authority of the Court’s
      Orders, such amounts may have been reduced. Conversely, to the extent that
      additional invoices for prepetition amounts are subsequently posted to the Debtors’
      systems, such amounts may increase.

      Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
      to executory contracts and unexpired leases. Such prepetition amounts, however,
      may be paid in connection with the assumption or assumption and assignment of
      an executory contract or unexpired lease. Schedule E/F, Part 2, does not include
      Claims that may arise in connection with the rejection of any executory contracts
      and unexpired leases that have been or may be rejected.

      In many cases, the Claims listed on Schedule E/F, Part 2, arose, accrued, or were
      incurred on various dates or on a date or dates that are unknown to the Debtors or
      are subject to dispute. Where the determination of the date on which a Claim arose,
      accrued, or was incurred would be unduly burdensome and costly to the Debtors’
      estates, the Debtors have not listed a specific date or dates for such Claim.

      The Debtors have made reasonable efforts to locate and identify Guarantees in each
      of the executory contracts, unexpired leases, secured financings, debt instruments,
      and other such agreements to which any Debtor is a party. It is possible that certain
      Guarantees embedded in the Debtors’ executory contracts, unexpired leases,
      secured financings, debt instruments, and other such agreements may have been
      inadvertently omitted. The Debtors reserve their rights to amend the Schedules to
      the extent additional Guarantees are identified or such Guarantees are discovered
      to have expired or be unenforceable. In addition, the Debtors reserve the right to
      amend the Schedules and Statements and to re-characterize or reclassify any such
      contract or Claim, whether by amending the Schedules and Statements or in another
      appropriate filing. Additionally, failure to list any Guarantees in the Schedules and
      Statements, including in any future amendments to the Schedules and Statements,
      shall not affect the enforceability of any Guarantees not listed.

      As of the time of filing of the Schedules and Statements, the Debtors had not
      received all invoices for payables, expenses, and other liabilities that may have
      accrued prior to the Petition Date. Accordingly, the information contained in
      Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
      undertake no obligations, to amend Schedules D and E/F if and as they receive such
      invoices.

(i)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
      efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
      omissions may have occurred. Additionally, some relationships between the
      Debtors and certain counterparties are governed by a master services agreement or
      master license agreement, under which such counterparties also place work and
      purchase orders, which may be considered executory contracts. Some relationships



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      between the Debtors and certain counterparties are governed by sublicensing
      agreements, under which the counterparties contract with third-party vendors to
      provide goods and services to the Debtors, and such agreements may be considered
      executory contracts. Disclosure of these purchase and work orders, however, is
      impracticable and unduly burdensome. Accordingly, to the extent the Debtors have
      determined to disclose non-confidential master services agreements or master
      license agreements in Schedule G, purchase and work orders placed thereunder may
      have been omitted.

(j)   Listing a contract or agreement on Schedule G does not constitute an admission
      that such contract or agreement is an executory contract or unexpired lease or that
      such contract or agreement was in effect on the Petition Date or is valid or
      enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
      status, or enforceability of any contracts, agreements, or leases set forth in
      Schedule G and to amend or supplement such Schedule as necessary. Certain of
      the leases and contracts listed on Schedule G may contain renewal options,
      guarantees of payment, indemnifications, options to purchase, rights of first refusal,
      and other miscellaneous rights. Such rights, powers, duties, and obligations are not
      set forth separately on Schedule G. In addition, the Debtors may have entered into
      various other types of agreements in the ordinary course of their business, such as
      supplemental agreements and letter agreements, which documents may not be set
      forth in Schedule G. Further, unless otherwise specified on Schedule G, each
      executory contract or unexpired lease listed thereon shall be deemed to include all
      exhibits, schedules, riders, modifications, declarations, amendments, supplements,
      attachments, restatements, or other agreements made directly or indirectly by any
      agreement, instrument, or other document that in any manner affects such executory
      contract or unexpired lease, without respect to whether such agreement, instrument,
      or other document is listed thereon.

      In some cases, the same supplier or provider may appear multiple times in
      Schedule G. Multiple listings, if any, reflect distinct agreements between the
      applicable Debtor and such supplier or provider.

      In the ordinary course of business, the Debtors may have issued numerous purchase
      orders for supplies, product, and related items, which, to the extent such purchase
      orders constitute executory contracts, are not listed individually on Schedule G. To
      the extent that goods were delivered under purchase orders prior to the Petition
      Date, vendors’ Claims with respect to such delivered goods are included on
      Schedule E/F. Similarly, in the ordinary course of business, the Debtors may have
      issued numerous statements of work or similar documents for services, which, to
      the extent such statements of work or similar documents constitute executory
      contracts, may not be listed individually on Schedule G. To the extent services
      were delivered under statements of work prior to the Petition Date, vendors’ Claims
      with respect to such services are included on Schedule E/F.

      The Debtors reserve all rights to dispute or challenge the characterization of any
      transaction or any document or instrument related to a creditor’s Claim.


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            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. Contracts or agreements identified on Schedule G, include all
            amendments, supplements, and other documents related thereto. The Debtors’
            rights under the Bankruptcy Code with respect to any such omitted contracts or
            agreements, or portions thereof, are not impaired by the omission.

2.   Specific Statements Disclosures.

     (a)    Statements, Part 1, Questions 1 and 2. The gross revenue reported for the current
            fiscal year is through the Petition Date, while the non-business revenue reported for
            the current fiscal year is through the Reporting Date. Anagram International, Inc.,
            through their joint venture agreement with with Convergram Mexico, S. De R.L de
            C.V. (“Convergram”), owns a 49.9% equity interest, which entitles them to non-
            operating revenues through the profit-sharing program.

     (b)    Statements, Part 2, Question 3 – 90 Day Payments. The Debtors have responded
            to Statement, Part 2, Question 3 in a detailed format by creditor. The response to
            Statement, Part 2, Question 3 includes any disbursement or other transfer made by
            the Debtors except for those made to (i) insiders or other Debtors (which payments
            appear in response to Statement, Part 2, Question 4), (ii) non-insider employees,
            and (iii) bankruptcy professionals (which payments appear in response to
            Statement, Part 6, Question 11). In addition, the response to Statement, Part 2,
            Question 3 does not include checks that were either voided or not presented before
            the Petition Date.

            Statements, Part 2, Question 4. To the extent: (i) a person qualified as an
            “insider” in the year prior to the Petition Date, but later resigned their insider status
            or (ii) did not begin the year as an insider, but later became an insider, the Debtors
            have only listed those payments made while such person was defined as an insider
            in Statements, Part 2, Question 4.

            The inclusion of a party as an “insider” is not intended to be, nor should it be,
            construed as a legal characterization of such party as an insider and does not act as
            an admission of any fact, Claim, right, or defense, and such rights, Claims, and
            defenses are hereby expressly reserved.

     (c)    Statements, Part 3, Question 7. Although the Debtors believe they were diligent
            in their efforts, certain lawsuits and proceedings may have been excluded
            inadvertently in the Debtors’ response to SOFA, Question 7. Additionally, the
            Debtors may have causes of action against other parties that have not formally been
            commenced, and thus any such causes of action have not been included on SOFA
            Part 3, Question 7. The Debtors reserve all of their rights to amend or supplement
            their response to SOFA Part 3, Question 7.

            The Debtors reserve all of their rights and defenses with respect to any and all listed
            lawsuits and administrative proceedings. The listing of such actions shall not



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      constitute an admission by the Debtors of any liabilities or that the actions were
      correctly filed against the Debtors or any affiliates of the Debtors. The Debtors also
      reserve their rights to assert that neither the Debtors nor any affiliate of the Debtors
      is an appropriate party to such actions or proceedings.

      In the event that the Debtors discover additional information pertaining to these
      legal actions identified in response to SOFA Part 3, Question 7, the Debtors will
      use reasonable efforts to supplement the Statements in light thereof and reserve all
      rights to do so.

      The response to this question excludes normal-course state audit activities.

(d)   Statements, Part 4, Question 5. The Debtors return products in the ordinary
      course due to defect, or if the product is not needed. The Debtors did not list any of
      these types of ordinary course returns in response to SOFA Part 2, Question 5.

(e)   Statements, Part 4, Question 9 – Gifts. The Debtors do not specifically keep
      track of gifts or charitable contributions. The amounts listed in Statements, Part 4,
      Question 9 were based on a manual review of items in the Debtors’ books and
      records determined to be gifts or charitable contributions. As a result, inadvertent
      errors or omissions may exist.

(f)   Statements, Part 6, Question 11 – Payments Related to Bankruptcy. Presented
      herein are payments made to various professional services firms for services
      rendered within one year immediately preceding the Commencement Date. The
      services rendered pertain to (i) debt restructuring and liquidity management, (ii)
      relief under the Bankruptcy Code, (iii) preparation of bankruptcy petitions and
      filings, and/or (iv) bankruptcy financing. Information regarding the Debtors’
      retention of professional service firms is more fully described in the individual
      retention applications and related orders.

(g)   Statements, Part 6, Question 13. The Debtors may, from time to time and in the
      ordinary course of business, transfer equipment and other assets and/or sell certain
      equipment and other assets to third parties. These types of ordinary course transfers
      have not been disclosed. The Debtors may also abandon assets in place at the
      locations for which they have no future use or have been unable to sell to a third
      party. These types of transfers have not been disclosed.

(h)   Statements, Part 11, Question 21 – Property Held for Another. The Debtors
      engage in a consignment program with a vendor whereby the inks owned by the
      vendor are stored at the Debtor’s manufacturing facility and are only purchased
      when consumed. Such program is listed on Part 11, Question 21.

(i)   Statements, Part 13, Question 26 – Books, Records and Financial Statements.
      The Debtors provide certain parties, such as banks, auditors, potential investors,
      vendors, and financial advisors, with financial statements that may not be part of a
      public filing. The Debtors do not maintain complete lists or other records tracking
      such disclosures. Therefore, the Debtors have provided lists of these parties in their


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      Responses to Statement Question 26 only to the extent such information was
      available upon recollection from Debtor personnel.

(j)   Statements, Part 13, Question 27 – Inventories. The Debtors perform daily cycle
      counts at their distribution center and inventory counts at their manufacturing
      facility.

(k)   Statements, Part 13, Question 29 – Former Directors and Officers.
      Commercially reasonable efforts have been made to provide accurate and complete
      information regarding the former directors, managing members, general partners,
      members, or shareholders who were in control of the Debtors within one year
      before the Petition Date but who no longer hold these positions. Inadvertent errors
      or omissions may exist.

(l)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
      Credited or Given to Insiders. Answers to this question are provided in Statement
      Question 4.


                        *      *       *      *       *




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Fill in this information to identify the case:

Debtor Name: In re : Anagram International, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                                             Check if this is an
Case number (if known): 23-90902 (MI)                                                                                                                                                        amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets±Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                        $          Undetermined
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                                 106,210,071.80
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................                     $        + Undetermined


     1c. Total of all property:
                                                                                                                                                                                                 106,210,071.80
     1c. Copy line 92 from Schedule A/B .............................................................................................................................                   $        + Undetermined



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                 240,406,692.20
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................                                                   $        + Undetermined

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $          Undetermined
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                    8,233,056.67
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................                                              +$       + Undetermined


4. Total liabilities
                                                                                                                                                                                                 248,639,748.87
     Lines 2 + 3a + 3b ..............................................................................................................................................................   $        + Undetermined




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                              Page 1 of 1
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 23 of 85


Fill in this information to identify the case:

Debtor Name: In re : Anagram International, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                             Check if this is an
Case number (if known): 23-90902 (MI)                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor¶s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor¶s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
      5 Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                Current value of debtor¶s interest


   2. Cash on hand

              2.1 None                                                                                              $


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)              Type of account   Last 4 digits of account number

              3.1 See Schedule A/B 3 - Part 1 Attachment                                                            $                   6,681,676.01


   4. Other cash equivalents (Identify all)

              4.1 None                                                                                              $


  5. Total of Part 1
                                                                                                                    $                  6,681,676.01
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                   Page 1 of 12
                        Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 24 of 85
  Debtor:    Anagram International, Inc.                                                            Case number (if known):       23-90902
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
          No. Go to Part 3.
    5 Yes. Fill in the information below.

                                                                                                                          Current value of debtor¶s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
             7.1 See Schedule A/B 7 - Part 2 Attachment                                                                   $                    1,292,157.07


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
             8.1 See Schedule A/B 8 - Part 2 Attachment                                                                   $                    2,059,504.56


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                                         $                3,351,661.63




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 12
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 25 of 85
   Debtor:    Anagram International, Inc.                                                                     Case number (if known):      23-90902
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
     5 Yes. Fill in the information below.
                                                                                                                                             Current value of debtor¶s
                                                                                                                                             interest

11. Accounts receivable
                                     Description          face amount                   doubtful or uncollectible accounts
                                     Accounts
    11a.     90 days old or less:    Receivable           $             21,374,004.37   -$                    245,801.05        =..... Î     $              21,128,203.32



                                     Accounts
    11b.     Over 90 days old:       Receivable           $              3,718,778.88   -$                    181,765.96        =..... Î     $              3,537,012.92


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                                  $             24,665,216.24




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                     Page 3 of 12
                          Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 26 of 85
  Debtor:    Anagram International, Inc.                                                          Case number (if known):           23-90902
              Name


Part 4:       Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
    5 Yes. Fill in the information below.
                                                                                             Valuation method used
                                                                                                                   Current value of debtor¶s interest
                                                                                             for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

             14.1 None                                                                                                      $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                   % of ownership:

             15.1 Anagram International Holdings, Inc.                100.0%                                                $                  Undetermined

             15.2 Convergram Mexico, S. De R.L de C.V.                49.9%                                                 $                  Undetermined



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

              16.1 None                                                                                                         $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                     $                  Undetermined




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                                 Page 4 of 12
                           Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 27 of 85
  Debtor:     Anagram International, Inc.                                                                Case number (if known):   23-90902
                 Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
            No. Go to Part 6.
     5 Yes. Fill in the information below.

                                                                            Net book value of debtor's
                                                       Date of the last                                      Valuation method used          Current value of debtor¶s
     General description                                                    interest
                                                       physical inventory                                    for current value              interest
                                                                            (Where available)

19. Raw materials
                 19.1 Purchased Components                                  $             2,726,876.40       Book                           $              2,726,876.40

                 19.2 Raw Material                                          $             4,506,449.22       Book                           $              4,506,449.22


20. Work in progress
                 20.1 In Transit                                            $                18,913.39       Book                           $                18,913.39

                 20.2 Open Work Orders                                      $             2,178,734.86       Book                           $              2,178,734.86

                 20.3 Spare Parts Inventory                                 $              183,183.43        Book                           $               183,183.43

                 20.4 Work In Process                                       $            10,143,418.02       Book                           $            10,143,418.02


21. Finished goods, including goods held for resale
                 21.1 Accessories                                           $            1,610,730.24       Book                            $              1,610,730.24

                 21.2 Finished Goods                                        $           26,373,585.64       Book                            $            26,373,585.64


22. Other inventory or supplies
                 22.1 None                                                   $                                                              $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                                $                47,741,891.20


24. Is any of the property listed in Part 5 perishable?
     5 No
            Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
     5      Yes.               See Global
                   Description Notes          Book value $        Undetermined     Valuation method                        Current value $                Undetermined


 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     5 No
            Yes




Official Form 206 A/B                          Schedule A/B: Assets - Real and Personal Property                                                    Page 5 of 12
                        Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 28 of 85
   Debtor:   Anagram International, Inc.                                                                    Case number (if known):       23-90902
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
          Yes. Fill in the information below.

                                                                            Net book value of debtor's     Valuation method
     General description                                                    interest                       used for current           Current value of debtor¶s interest
                                                                            (Where available)              value
 28. Crops²either planted or harvested
                                                                            $                                                         $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                            $                                                         $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                            $                                                         $


 31. Farm and fishing supplies, chemicals, and feed
                                                                            $                                                         $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                            $                                                         $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                              $                               0.00


 34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor¶s property stored at the cooperative?
                No
                Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Description                      Book value $                            Valuation method                       Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
          No
          Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 6 of 12
                        Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 29 of 85
  Debtor:   Anagram International, Inc.                                                                    Case number (if known):   23-90902
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
       No. Go to Part 8.
     5Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                       Valuation method used for          Current value of debtor¶s
     General description                                             interest
                                                                                                       current value                      interest
                                                                     (Where available)
 39. Office furniture

             39.1 Chairs                                             $                      3,471.09   Book                               $                 3,471.09

             39.2 Desks                                              $                      1,501.49   Book                               $                 1,501.49

             39.3 Other Office Furniture                             $                      4,391.04   Book                               $                 4,391.04

             39.4 Tables                                             $                      6,842.75   Book                               $                 6,842.75


 40. Office fixtures

             40.1 Cabinets                                           $                     10,312.43   Book                               $                10,312.43

             40.2 Cubicles                                           $                     86,063.09   Book                               $                86,063.09

             40.3 Display Racks/Store Walls                          $                    824,346.96   Book                               $               824,346.96

             40.4 Other Office Fixtures                              $                      3,030.77   Book                               $                 3,030.77


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

             41.1 See Schedule A/B 41 - Part 7 Attachment            $               1,605,037.53                                         $             1,605,037.53


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

             42.1 None                                               $                                                                    $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                                  $             2,544,997.15


 44. Is a depreciation schedule available for any of the property listed in Part 7?
       No
     5Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     5No
       Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                                     Page 7 of 12
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 30 of 85
  Debtor:    Anagram International, Inc.                                                                    Case number (if known):           23-90902
              Name


Part 8:       Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
            No. Go to Part 9.
      5 Yes. Fill in the information below.

     General description                                                Net book value of debtor's
                                                                        interest                        Valuation method used
                                                                                                                              Current value of debtor¶s interest
     Include year, make, model, and identification numbers (i.e.,                                       for current value
     VIN, HIN, or N-number)                                             (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                 47.1 See Schedule A/B 47 - Part 8 Attachment           $                   14,262.58                                     $                   14,262.58



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
                 48.1 None                                          $                                                                 $


  49. Aircraft and accessories
                 49.1 None                                          $                                                                 $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
                 50.1 See Schedule A/B 50 - Part 8 Attachment       $               21,210,366.99                                     $                   21,210,366.99



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                         $                      21,224,629.57


 52. Is a depreciation schedule available for any of the property listed in Part 8?
            No
      5 Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      5 No
            Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                          Page 8 of 12
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 31 of 85
   Debtor:    Anagram International, Inc.                                                                      Case number (if known):   23-90902
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
          No. Go to Part 10.
        5Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of
                                                                                           debtor's interest
                                                                                                                             Valuation method   Current value of
        Assessor Parcel Number (APN), and type of property (for       debtor¶s interest in                                   used for current   debtor¶s interest
        example, acreage, factory, warehouse, apartment or office     property
                                                                                           (Where available)
                                                                                                                             value
        building), if available.

                    Real Property - 5300 West 76th Street, Edina,
               55.1 MN, 55439                                     Lease                        $        Undetermined                            $       Undetermined

                    Real Property - 5501 W. Old Shakopee Road,
               55.2 Bloomington, MN, 55437                            Lease                    $        Undetermined                            $       Undetermined

                    Real Property - 7670 Executive Drive, Eden
               55.3 Prairie, MN, 55344                                Lease                    $        Undetermined                            $       Undetermined

                    Real Property - 7700 Anagram Drive , Eden
               55.4 Prairie, MN 55344                                 Lease                    $        Undetermined                            $       Undetermined


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $       Undetermined


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
          No
        5Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        5No
          Yes




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                       Page 9 of 12
                        Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 32 of 85
  Debtor:   Anagram International, Inc.                                                                Case number (if known):   23-90902
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
      No. Go to Part 11.
    5Yes. Fill in the information below.

                                                                       Net book value of debtor's                             Current value of debtor¶s
                                                                       interest                        Valuation method
    General description                                                                                                       interest
                                                                       (Where available)               used for current value

60. Patents, copyrights, trademarks, and trade secrets
            60.1 See Schedule A/B 60 - Part 10 Attachment              $              Undetermined                               $           Undetermined


61. Internet domain names and websites
            61.1 See Schedule A/B 61 - Part 10 Attachment              $              Undetermined                                $          Undetermined


62. Licenses, franchises, and royalties
            62.1 See Schedule A/B 62 - Part 10 Attachment              $              Undetermined                                $          Undetermined


63. Customer lists, mailing lists, or other compilations
            63.1 Customer relationships                                $               2,499,999.92                               $          Undetermined


64. Other intangibles, or intellectual property
            64.1 None                                                  $                                                          $


65. Goodwill
            65.1 Goodwill                                              $              23,661,200.46                               $          Undetermined

            65.2 Goodwill from AMSCAN                                  $              27,724,645.90                               $          Undetermined


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                           $          Undetermined


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    5No
      Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
      No
    5Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                              Page 10 of 12
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 33 of 85
   Debtor:   Anagram International, Inc.                                                                      Case number (if known):       23-90902
              Name


Part 11:     All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
      No. Go to Part 12.
    5Yes. Fill in the information below.

                                                                                                                                        Current value of debtor¶s
                                                                                                                                        interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount           doubtful or uncollectible accounts
             71.1 None                                     $                           -$                                   =.....   Î $


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
             72.1 None                                                                  Tax year                                        $


73. Interests in insurance policies or annuities
             73.1 See Schedule A/B 73 - Part 11 Attachment                                                                              $                Undetermined



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
             74.1 None                                                                                                                  $

                  Nature of claim

                  Amount requested                         $



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
             75.1 None                                                                                                                  $

                  Nature of claim

                  Amount requested                          $



76. Trusts, equitable or future interests in property
             76.1 None                                                                                                                  $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
             77.1 None                                                                                                                  $


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                $                Undetermined



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 11 of 12
                               Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 34 of 85
     Debtor:     Anagram International, Inc.                                                                                             Case number (if known):         23-90902
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                        Current value of real
                                                                                                      personal property                       property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $              6,681,676.01

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $              3,351,661.63

82. Accounts receivable. Copy line 12, Part 3.                                                        $            24,665,216.24

83. Investments. Copy line 17, Part 4.                                                                $             Undetermined

84. Inventory. Copy line 23, Part 5.                                                                  $            47,741,891.20

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $              2,544,997.15
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $            21,224,629.57

88. Real property. Copy line 56, Part 9.............................................................................................Î         $             Undetermined


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $             Undetermined

90. All other assets. Copy line 78, Part 11.                                                          $             Undetermined
                                                                                                                  106,210,071.80
91. Total. Add lines 80 through 90 for each column...............................91a.                 $           + Undetermined + 91b. $                   Undetermined

                                                                                                                                                                                       106,210,071.80
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................   $
                                                                                                                                                                                       + Undetermined




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                      Page 12 of 12
                               Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 35 of 85


 Fill in this information to identify the case:

 Debtor Name: In re : Anagram International, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                          Check if this is an
 Case number (if known): 23-90902 (MI)                                                                                                                    amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor¶s property?
          No. Check this box and submit page 1 of this form to the court with debtor¶s other schedules. Debtor has nothing else to report on this form.
    5 Yes. Fill in all of the information below.

Part 1:        List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                               Column A
                                                                                                                                                                Column B
   secured claim, list the creditor separately for each claim.                                                                     Amount of claim
                                                                                                                                                                Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                                supports this claim
                                                                                                                                   value of collateral.

        2.1 Creditor¶s name                                             Describe debtor¶s property that is subject to a lien
             Computershare Trust Company, N.A., as                      Substantially all existing or acquired property (UCC
             Collateral Trustee                                         Initial Filing No. 20205238821)                        $         125,300,000.00     $           Undetermined
             Creditor's Name

             Creditor¶s mailing address
                                                                        Describe the lien
             Notice Name                                                Senior Lien
             1015 10th Ave SE
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Minneapolis            MN                 55414                Yes
             City                  State               ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor¶s email address, if known                              No
                                                                        5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               7/30/2020

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
                      No
             5        Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.
                           See Global Notes
                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                            Page 1 of 5
                               Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 36 of 85
    Debtor:       Anagram International, Inc.                                                                           Case number (if known):     23-90902
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.2 Creditor¶s name                                           Describe debtor¶s property that is subject to a lien
                                                                        Leased Equipment (UCC Initial Filing No.
             Crown Equipment Corporation                                201437465689)                                          $          Undetermined     $           Undetermined
             Creditor's Name

             Creditor¶s mailing address
                                                                        Describe the lien
             Notice Name                                                Equipment Lease
             44 S. Washington Street
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             New Bremen            OH                45869                  Yes
             City                  State             ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor¶s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred             8/1/2014

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                             Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                           No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                             Page 2 of 5
                               Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 37 of 85
    Debtor:       Anagram International, Inc.                                                                           Case number (if known):    23-90902
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                          Column A
                                                                                                                                                              Column B
             the previous page.                                                                                                   Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


          2.3 Creditor¶s name                                           Describe debtor¶s property that is subject to a lien
                                                                        Substantially all assets and interests in assets (UCC
             WELLS FARGO BANK N.A.                                      Initial Filing No. 20213584415)                       $            6,206,692.20   $           Undetermined
             Creditor's Name

             Creditor¶s mailing address
                                                                        Describe the lien
             Notice Name                                                Senior Lien
             10 S WACKER DRIVE, 26TH FLOOR
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             CHICAGO                IL                 60606                Yes
             City                  State               ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor¶s email address, if known                              No
                                                                        5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               5/7/2021

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
                      No
              5       Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.
                           See Global Notes
                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                          Page 3 of 5
                               Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 38 of 85
    Debtor:       Anagram International, Inc.                                                                           Case number (if known):     23-90902
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.4 Creditor¶s name                                           Describe debtor¶s property that is subject to a lien
             Wilmington Savings Fund Society, FSB, as                   Substantially all existing or acquired property (UCC
             Collateral Trustee                                         Initial Filing No. 20205238920)                        $         108,900,000.00    $           Undetermined
             Creditor's Name

             Creditor¶s mailing address
                                                                        Describe the lien
             Notice Name                                                Junior Lien
             500 Delaware Ave
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Wilmington             DE                 19801                Yes
             City                  State               ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor¶s email address, if known                              No
                                                                        5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               7/30/2020

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
                      No
              5       Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.
                           See Global Notes
                           Yes. The relative priority of creditors is
                           specified on lines




          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                               240,406,692.20
             Page, if any.                                                                                                     $        + Undetermined




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                           Page 4 of 5
                       Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 39 of 85


Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

                                                                                                               Line
  Name



  Notice Name


  Street




  City                                         State                          ZIP Code



  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 5 of 5
                             Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 40 of 85


 Fill in this information to identify the case:

 Debtor Name: In re : Anagram International, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                  Check if this is an
 Case number (if known): 23-90902 (MI)                                                                                                            amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       No. Go to Part 2.
     5Yes. Go to Line 2.




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim               Priority amount

          2.1 Priority creditor¶s name and mailing address            As of the petition filing date, the claim is: $          Undetermined   $           Undetermined
             See Schedule E/F Part 1 Attachment                       Check all that apply.
             Creditor Name
                                                                        Contingent
                                                                        Unliquidated
             Creditor's Notice name
                                                                        Disputed


             Address                                                  Basis for the claim:




             City                     State         ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                   Is the claim subject to offset?
             number                                                                                                       No

             Specify Code subsection of PRIORITY unsecured                                                               Yes
             claim: 11 U.S.C. § 507(a) ()




 Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 1 of 4
                          Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 41 of 85


Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

     3.1 Nonpriority creditor¶s name and mailing address                           As of the petition filing date, the claim is:   $                   8,233,056.67
          See Schedule E/F Part 2 Attachment                                       Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
                                                                                   Basis for the claim:
          Address




          City                     State            ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                      No
          Last 4 digits of account                                                    Yes

          number




 Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 4
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 42 of 85


Part 3:        List Others to Be Notified About Unsecured Claims
    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
       collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
       next page.


      Name and mailing address                                                   On which line in Part 1 or Part 2 is the      Last 4 digits of account
                                                                                 related creditor (if any) listed?             number, if any


                                                                                 Line
      Name                                                                         Not Listed.Explain

      Notice Name


      Street




      City                       State                ZIP Code



      Country




  Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 3 of 4
                            Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 43 of 85

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a.   Total claims from Part 1                                                            5a.     $               Undetermined


5b.   Total claims from Part 2                                                            5b. ¬   $               8,233,056.67




                                                                                                                   8,233,056.67
5c.   Total of Parts 1 and 2                                                              5c.     $             + Undetermined
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 4
                          Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 44 of 85


 Fill in this information to identify the case:

 Debtor Name: In re : Anagram International, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                   Check if this is an
 Case number (if known): 23-90902 (MI)                                                                                                             amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor¶s other schedules. There is nothing else to report on this form.
      5Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
      5Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1
              lease is for and the nature     See Schedule G Attachment
              of the debtor¶s interest                                                                   Name


                                                                                                         Notice Name



              State the term remaining                                                                   Address



              List the contract number of
              any government contract




                                                                                                         City                              State                ZIP Code


                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
                         Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 45 of 85


Fill in this information to identify the case:

Debtor Name: In re : Anagram International, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                              Check if this is an
Case number (if known): 23-90902 (MI)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     5Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


            Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                                  Check all schedules
            Name                                   Mailing address                                             Name
                                                                                                                                                  that apply:

       2.1 Anagram Holdings, LLC                   7700 Anagram Drive                                          Computershare Trust                5D
                                                                                                               Company, N.A., as Collateral
                                                                                                               Trustee
                                                   Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                                   Eden Parie              MN                   55344
                                                   City                    State                ZIP Code



                                                   Country


       2.2 Anagram Holdings, LLC                   7700 Anagram Drive                                          Wells Fargo Bank NA                5D
                                                   Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                                   Eden Parie              MN                   55344
                                                   City                    State                ZIP Code



                                                   Country




 Official Form 206H                                                     Schedule H: Codebtors                                                           Page 1 of 2
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Debtor:   Anagram International, Inc.                                                    Case number (if known):   23-90902
          Name
     2.3 Anagram Holdings, LLC          7700 Anagram Drive                                           Wilmington Savings Fund        5D
                                                                                                     Society, FSB, as Collateral
                                                                                                     Trustee
                                        Street

                                                                                                                                     E/F


                                                                                                                                     G


                                        Eden Parie              MN                   55344
                                        City                    State                ZIP Code



                                        Country


     2.4 Anagram International          7700 Anagram Drive                                           Computershare Trust            5D
         Holdings, Inc.                                                                              Company, N.A., as Collateral
                                                                                                     Trustee
                                        Street

                                                                                                                                     E/F


                                                                                                                                     G


                                        Eden Parie              MN                   55344
                                        City                    State                ZIP Code



                                        Country


     2.5 Anagram International          7700 Anagram Drive                                           Wells Fargo Bank NA            5D
         Holdings, Inc.
                                        Street

                                                                                                                                     E/F


                                                                                                                                     G


                                        Eden Parie              MN                   55344
                                        City                    State                ZIP Code



                                        Country


     2.6 Anagram International          7700 Anagram Drive                                           Wilmington Savings Fund        5D
         Holdings, Inc.                                                                              Society, FSB, as Collateral
                                                                                                     Trustee
                                        Street

                                                                                                                                     E/F


                                                                                                                                     G


                                        Eden Parie              MN                   55344
                                        City                    State                ZIP Code



                                        Country




Official Form 206H                                           Schedule H: Codebtors                                                       Page 2 of 2
                        Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 47 of 85
Fill in this information to identify the case:

Debtor Name: In re : Anagram International, Inc.

United States Bankruptcy Court for the: Southern District of Texas

Case number (if known): 23-90902 (MI)



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual¶s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


             Declaration and signature


            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
            individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


            5    Schedule A/B: Assets±Real and Personal Property (Official Form 206A/B)

            5    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


            5    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

            5    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

            5    Schedule H: Codebtors (Official Form 206H)

            5    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration




            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on     12/12/2023                                                   µ / s / Christopher Wiles
                            MM / DD / YYYY                                                  Signature of individual signing on behalf of debtor




                                                                                            Christopher Wiles
                                                                                            Printed name

                                                                                            Vice President of Finance &
                                                                                            Administration
                                                                                            Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                           In re: Anagram International, Inc.
                                                   Case No. 23-90902
                                                  Schedule A/B 3 - Part 1:
                              Checking, savings, money market, or financial brokerage accounts
                                                                                    Account number         Current value of
Name of institution (bank or brokerage firm)      Type of account                   (last 4 digits)        debtor's interest
Bank of America                                   Checking Account                                    8408        $14,771.13
Bank of America                                   Collateral Account                                  3407        $50,003.64
Bank of America                                   Disbursements Account                               2566              $0.00
Bank of America                                   Master Account                                      0057        $27,597.57
Wells Fargo Bank N.A.                             Collection Account                                  2726              $0.00
Wells Fargo Bank N.A.                             DIP Notes Proceeds Account                          2759        $79,536.56
Wells Fargo Bank N.A.                             Disbursements Account                               2742              $0.00
Wells Fargo Bank N.A.                             Master Concentration Account                        2734     $5,509,767.11
Wells Fargo Bank N.A.                             Restricted Cash Account                             2767     $1,000,000.00
                                                                                                    TOTAL:     $6,681,676.01




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                           In re: Anagram International, Inc.
                                   Case No. 23-90902
                                   Schedule A/B 7 - Part 2:
                   Deposits, including security deposits and utility deposits
                                                                       Current value of
Description                        Name of holder of deposit           debtor's interest
Lease Deposit                      MNJV BDC, LLC                           $1,000,000.00
Misc. down payment vendor          Univar                                       $1,196.00
Misc. down payment vendor          Emkat Solutions Inc                        $41,547.44
Misc. down payment vendor          Randahl Construction Inc                   $14,335.00
Security Deposit                   Canada Revenue Agency                        $9,416.77
Security Deposit                   Symmetry Energy Solutions LLC              $50,000.00
Upfront Payment - Stock Vendor     Arcus Industrial Limited                   $15,120.16
Upfront Payment - Stock Vendor     Lu An Yuxing Imp & Exp Trad Co Ltd         $30,023.00
Upfront Payment - Stock Vendor     Quanzhou East                              $12,207.00
Upfront Payment - Stock Vendor     Toray                                     $105,212.74
Upfront Payment - Stock Vendor     Wuxi Raychina Intl'l Corp                  $13,098.96
                                                                TOTAL:     $1,292,157.07




                                          Page 1 of 1
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                         In re: Anagram International, Inc.
                                 Case No. 23-90902
                               Schedule A/B 8 - Part 2:
                                   Prepayments
                                                                 Current value of
Description                  Name of holder of prepayment        debtor's interest
Other Prepaid Expense        Catalogs                                   $40,842.62
Other Prepaid Expense        Intertek Testing                           $24,413.98
Other Prepaid Expense        San Diego Gas & Electric                   $64,285.68
Prepaid D&O Insurance        CAC Specialty                             $256,666.67
Prepaid IT Licence           Advanced Systems Integration               $10,219.72
Prepaid IT Licence           Aras Corporation                             $3,183.24
Prepaid IT Licence           Gsoft Technologies                             $999.20
Prepaid IT Licence           License My Software                          $3,191.79
Prepaid IT Licence           Lucid Software Inc                           $2,025.00
Prepaid IT Licence           Motio                                        $1,776.00
Prepaid IT Licence           Netwrix                                      $2,885.05
Prepaid IT Licence           Sprout Social                                $3,411.80
Prepaid IT Licence           Zmags                                          $666.64
Prepaid IT Maintenance       1WORLDSYNC                                   $3,264.82
Prepaid IT Maintenance       ABETECH                                    $32,242.12
Prepaid IT Maintenance       Acquia                                     $21,128.96
Prepaid IT Maintenance       Barcodes                                     $5,670.75
Prepaid IT Maintenance       CASCO                                      $16,977.34
Prepaid IT Maintenance       Colex                                        $2,266.68
Prepaid IT Maintenance       D3 Technologies                            $18,443.96
Prepaid IT Maintenance       eCapital                                   $30,716.22
Prepaid IT Maintenance       Emkat                                      $16,157.24
Prepaid IT Maintenance       Esko Graphics                                $9,724.91
Prepaid IT Maintenance       GoEngineer                                 $50,810.91
Prepaid IT Maintenance       GS Systems                                 $17,949.28
Prepaid IT Maintenance       Hexagon                                      $1,400.02
Prepaid IT Maintenance       Identisys                                    $4,502.62
Prepaid IT Maintenance       INFOR                                      $11,838.31
Prepaid IT Maintenance       NDC Infrared Engineering                   $10,802.68
Prepaid IT Maintenance       Nutech Systems                               $4,827.28
Prepaid IT Maintenance       ProData                                        $256.33
Prepaid IT Maintenance       Prototek Engineering                           $479.57
Prepaid IT Maintenance       Relex Logistic                               $9,994.81
Prepaid IT Maintenance       Sage Software                                $4,773.91

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                          In re: Anagram International, Inc.
                                  Case No. 23-90902
                                Schedule A/B 8 - Part 2:
                                    Prepayments
                                                                            Current value of
Description                   Name of holder of prepayment                  debtor's interest
Prepaid IT Maintenance        Summit Information Resources                         $62,217.49
Prepaid IT Maintenance        Unicom Systems, Inc                                    $2,377.22
Prepaid Patent                Briggs & Morgan                                      $28,401.71
Prepaid Patent                Hogan Lovells                                        $28,824.07
Prepaid Patent                Taft Stettinius & Hollister                          $17,285.42
Prepaid Rent                  MNJV BDC, LLC                                       $263,879.05
Prepaid Rent                  RTA Edenvale 7J Social, LLC                            $2,709.61
Prepaid Trade Show            IFE                                                    $2,839.32
Royalty Advance Payment       Anidraks                                                 $333.70
Royalty Advance Payment       BMG                                                    $3,738.40
Royalty Advance Payment       Capizzi                                                  $928.05
Royalty Advance Payment       Chrysalis                                                $928.05
Royalty Advance Payment       Disney Music                                             $588.14
Royalty Advance Payment       Disney Records                                           $634.54
Royalty Advance Payment       EMI                                                    $7,732.32
Royalty Advance Payment       Foreign Imported Productions and Publishing            $1,158.43
Royalty Advance Payment       Magic International                                  $12,466.97
Royalty Advance Payment       Peer International Group                                 $968.70
Royalty Advance Payment       Sony                                                     $617.70
Royalty Advance Payment       Warner/Chappell Music                                    $819.50
Royalty Advance Payment       WD Properties                                       $931,260.06
                                                                     TOTAL:     $2,059,504.56




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                         In re: Anagram International, Inc.
                                 Case No. 23-90902
                                Schedule A/B 41 - Part 7:
                                   Office equipment
                            Net book value of Valuation method
                            debtor's interest    used for current    Current value of
General description         (where available)    value               debtor's interest
Camera Equipment                       $1,057.46 Book                         $1,057.46
Compressor Equipment                       $0.00 Book                             $0.00
Computer Equipment                  $488,892.98 Book                       $488,892.98
Fax Equipment                              $0.00 Book                             $0.00
General Office Equipment            $242,469.97 Book                       $242,469.97
Networking Equipment                $273,070.63 Book                       $273,070.63
Printing Equipment                   $57,404.31 Book                        $57,404.31
Refrigeration Equipment                $6,244.24 Book                         $6,244.24
Scanning Equipment                   $20,001.06 Book                        $20,001.06
Server Equipment                     $38,632.85 Book                        $38,632.85
Shredding Equipment                        $0.00 Book                             $0.00
Software                            $438,706.00 Book                       $438,706.00
Telephonic Equipment                 $38,558.03 Book                        $38,558.03
                     TOTAL:       $1,605,037.53               TOTAL:     $1,605,037.53




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              Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 53 of 85

                                        In re: Anagram International, Inc.
                                                Case No. 23-90902
                                                Schedule A/B 47 - Part 8:
                         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                         Net book value of Valuation method
                                                         debtor's interest         used for current   Current value of
Model                                                    (where available)         value              debtor's interest
Electric Jack - Double #3310                                               $0.00 Book                              $0.00
Electric Pallet Jack                                                       $0.00 Book                              $0.00
Electric Walkie #3309                                                      $0.00 Book                              $0.00
Fork Lift Truck                                                            $0.00 Book                              $0.00
Forklift                                                                   $0.00 Book                              $0.00
Forklift                                                                   $0.00 Book                              $0.00
Forklift Lease RD5725 #3014                                                $0.00 Book                              $0.00
Forklift Lease RR5715 #3013                                                $0.00 Book                              $0.00
Forklift Lease S/N 1A398896 #3288                                     $7,131.29 Book                           $7,131.29
Forklift Lease S/N 1A399137 #3260                                     $7,131.29 Book                           $7,131.29
Hand Pallet Truck                                                          $0.00 Book                              $0.00
Hydraulic Pallet                                                           $0.00 Book                              $0.00
JLG 20' Scissor Lift                                                       $0.00 Book                              $0.00
Reach Truck                                                                $0.00 Book                              $0.00
Reach Truck                                                                $0.00 Book                              $0.00
Revolator Forklift                                                         $0.00 Book                              $0.00
Rider Forklift Truck                                                       $0.00 Book                              $0.00
Rider Reach/Charger                                                        $0.00 Book                              $0.00
Scissor Lift                                                               $0.00 Book                              $0.00
Stock Picker #3306                                                         $0.00 Book                              $0.00
Stock Picker 312                                                           $0.00 Book                              $0.00
Stockpicker                                                                $0.00 Book                              $0.00
Stockpicker                                                                $0.00 Book                              $0.00
Stockpicker                                                                $0.00 Book                              $0.00
Stockpicker                                                                $0.00 Book                              $0.00
Sweeper/Scrubber Asset #2587                                               $0.00 Book                              $0.00
                                                                    $14,262.58                 TOTAL:        $14,262.58




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     Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 54 of 85

                             In re: Anagram International, Inc.
                                     Case No. 23-90902
                                   Schedule A/B 50 - Part 8:
                            Other machinery, fixtures, and equipment

                                   Net book value of Valuation method
                                   debtor's interest  used for current   Current value of
Description                        (where available) value               debtor's interest
Machinery and equipment                $19,007,037.19 Book                  $19,007,037.19
Product Development                     $2,192,943.13 Book                   $2,192,943.13
Cust/Flex Product Develop                  $10,386.67 Book                      $10,386.67
                            TOTAL:     $21,210,366.99             TOTAL:    $21,210,366.99




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                              Case 23-90901 Document 249 Filed in TXSB on 12/12/23 Page 55 of 85

                                                 In re: Anagram International, Inc.
                                                         Case No. 23-90902
                                                        Schedule A/B 60 - Part 10:
                                            Patents, copyrights, trademarks, and trade secrets

                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0000224422)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0000595935)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206709)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206710)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206711)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206712)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206713)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206714)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206715)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206716)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206717)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206718)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206719)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001206720)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001845366)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001845367)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846382)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846383)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846384)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846385)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846387)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846389)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846392)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001846394)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0001854050)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002058009)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002058010)                                                        Undetermined                        Undetermined

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                                            Patents, copyrights, trademarks, and trade secrets

                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002059083)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059084)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059085)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059095)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059097)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059112)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059116)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059118)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059120)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059121)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059125)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059128)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059129)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002059132)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002060573)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002062023)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002070707)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002070709)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002070715)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002070717)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002070719)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073092)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073093)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073094)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073096)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073097)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073098)                                                        Undetermined                        Undetermined

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                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002073099)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073100)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073301)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073740)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073743)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073772)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002073774)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002075758)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002085623)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002085770)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002085924)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002092800)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002092804)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002093893)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002095565)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002113901)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002115452)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002117643)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002117662)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002118004)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002118018)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002136937)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002136938)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002137198)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002141436)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002141518)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002141520)                                                        Undetermined                        Undetermined

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                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002141537)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002153036)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002156842)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002157292)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002157409)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002157817)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002157952)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158348)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158357)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158367)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158373)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158377)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158379)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158436)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158472)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158479)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158481)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158489)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158608)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158610)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158615)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002158628)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002159184)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002159185)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002159186)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002160051)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002160054)                                                        Undetermined                        Undetermined

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                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002176628)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002176629)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002176631)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002176633)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002182674)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002182738)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002182740)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002185233)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002185234)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192001)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192008)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192096)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192097)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192366)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192633)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002192675)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002193393)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002193405)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002193989)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194120)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194121)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194135)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194139)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194145)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194163)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194167)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194172)                                                        Undetermined                        Undetermined

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                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002194176)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194864)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194880)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194918)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194919)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002194921)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002195203)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002195205)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002195207)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197424)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197440)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197444)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197447)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197452)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197607)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197760)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002197932)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002198723)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002198751)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002204649)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207689)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207692)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207694)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207699)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207701)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207763)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207765)                                                        Undetermined                        Undetermined

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                                                                                  Net book value of    Valuation method
                                                                                  debtor's interest    used for current   Current value of
Description                                                                       (where available)    value              debtor's interest
Copyrights (App. No. VA0002207766)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207767)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207768)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207785)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207789)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207791)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207797)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207821)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207831)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207832)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207833)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207835)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002207836)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002210948)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002246959)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002246962)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002246963)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247027)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247028)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247337)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247339)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247340)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247342)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247524)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247560)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247564)                                                        Undetermined                        Undetermined
Copyrights (App. No. VA0002247815)                                                        Undetermined                        Undetermined

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                                                                                   Net book value of    Valuation method
                                                                                   debtor's interest    used for current   Current value of
Description                                                                        (where available)    value              debtor's interest
Copyrights (App. No. VA0002251180)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002270237)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002280760)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002281755)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002282121)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002303923)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002303928)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002303977)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002304160)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002304186)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002304187)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002304188)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002311155)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002317483)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002349977)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002349995)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002351564)                                                         Undetermined                        Undetermined
Copyrights (App. No. VA0002368447)                                                         Undetermined                        Undetermined
Patent - Australia (App. No. AU2021241357)                                                 Undetermined                        Undetermined
Patent - Canada (App. No. CA3173202)                                                       Undetermined                        Undetermined
Patent - China (App. No. CN202180031312)                                                   Undetermined                        Undetermined
Patent - Europe (App. No. EP17734926)                                                      Undetermined                        Undetermined
Patent - Europe (App. No. EP21776186)                                                      Undetermined                        Undetermined
Patent - Israel (App. No. IL296810)                                                        Undetermined                        Undetermined
Patent - Korea (App. No. KR1020227036315)                                                  Undetermined                        Undetermined
Patent - Mexico (App. No. MX2018015602)                                                    Undetermined                        Undetermined
Patent - PCT (App. No. WOUS06012883)                                                       Undetermined                        Undetermined

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                                                                                         Net book value of    Valuation method
                                                                                         debtor's interest    used for current   Current value of
Description                                                                              (where available)    value              debtor's interest
Patent - PCT (App. No. WOUS07013164)                                                             Undetermined                        Undetermined
Patent - PCT (App. No. WOUS09067882)                                                             Undetermined                        Undetermined
Patent - PCT (App. No. WOUS11036800)                                                             Undetermined                        Undetermined
Patent - PCT (App. No. WOUS17038558)                                                             Undetermined                        Undetermined
Patent - PCT (App. No. WOUS21019365)                                                             Undetermined                        Undetermined
Patent - PCT (App. No. WOUS89002589)                                                             Undetermined                        Undetermined
Patent - United States (App. No. US12202655)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US12317595)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US13196495)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US13196554)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US13729805)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US16828151)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US17670201)                                                     Undetermined                        Undetermined
Patent - United States (App. No. US17931967)                                                     Undetermined                        Undetermined
Trademark - Argentina (App. No. 3519292)                                                         Undetermined                        Undetermined
Trademark - Argentina (App. No. 3676363)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 1835318)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 1835348)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 1980613)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 2057341)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 2058245)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 2269327)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 2270726)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 2283305)                                                         Undetermined                        Undetermined
Trademark - Australia (App. No. 625755)                                                          Undetermined                        Undetermined
Trademark - Bolivia (App. No. 4860/2010 / Reg. No. 132869)                                       Undetermined                        Undetermined
Trademark - Brazil (App. No. 818422920)                                                          Undetermined                        Undetermined

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                                                 Patents, copyrights, trademarks, and trade secrets

                                                                                       Net book value of    Valuation method
                                                                                       debtor's interest    used for current   Current value of
Description                                                                            (where available)    value              debtor's interest
Trademark - Brazil (App. No. 903126885)                                                        Undetermined                        Undetermined
Trademark - Brazil (App. No. 913166596)                                                        Undetermined                        Undetermined
Trademark - Canada (App. No. 1876019)                                                          Undetermined                        Undetermined
Trademark - Canada (App. No. 2198051)                                                          Undetermined                        Undetermined
Trademark - Chile (App. No. 1277020 / Reg. No. 1279147)                                        Undetermined                        Undetermined
Trademark - Chile (App. No. 927825 / Reg. No. 988813)                                          Undetermined                        Undetermined
Trademark - China (App. No. 12182800-28 / Reg. No. 12182800)                                   Undetermined                        Undetermined
Trademark - China (App. No. 5863755-28 / Reg. No. 5863755)                                     Undetermined                        Undetermined
Trademark - Colombia (App. No. 10135417)                                                       Undetermined                        Undetermined
Trademark - Colombia (App. No. SD20190040084 / Reg. No. 636923)                                Undetermined                        Undetermined
Trademark - Costa Rica (App. No. 2010-0010118 / Reg. No. 210115)                               Undetermined                        Undetermined
Trademark - Ecuador (App. No. M237312 / Reg. No. 4937)                                         Undetermined                        Undetermined
Trademark - Ecuador (App. No. M237313 / Reg. No. 4938)                                         Undetermined                        Undetermined
Trademark - El Salvador (App. No. 20100143840)                                                 Undetermined                        Undetermined
Trademark - El Salvador (App. No. 2010105154)                                                  Undetermined                        Undetermined
Trademark - European Union (EUTM) (App. No. 11866944 / Reg. No. 11866944)                      Undetermined                        Undetermined
Trademark - European Union (EUTM) (App. No. 18096666 / Reg. No. 18096666)                      Undetermined                        Undetermined
Trademark - European Union (EUTM) (App. No. 294686 / Reg. No. 294686)                          Undetermined                        Undetermined
Trademark - Honduras (App. No. 32789-2010)                                                     Undetermined                        Undetermined
Trademark - Hong Kong (App. No. 302521881 / Reg. No. 302521881)                                Undetermined                        Undetermined
Trademark - Hong Kong (App. No. 302521890 / Reg. No. 302521890)                                Undetermined                        Undetermined
Trademark - Hong Kong (App. No. 304221530 / Reg. No. 304221530)                                Undetermined                        Undetermined
Trademark - India (App. No. 684826 / Reg. No. 684826)                                          Undetermined                        Undetermined
Trademark - Indonesia (App. No. )                                                              Undetermined                        Undetermined
Trademark - Indonesia (App. No. DID2018007907 / Reg. No. IDM000740363)                         Undetermined                        Undetermined
Trademark - Indonesia (App. No. DID2020007187 / Reg. No. IDM000877961)                         Undetermined                        Undetermined
Trademark - Israel (App. No. 121739)                                                           Undetermined                        Undetermined

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                                                                                       Net book value of    Valuation method
                                                                                       debtor's interest    used for current   Current value of
Description                                                                            (where available)    value              debtor's interest
Trademark - Israel (App. No. 298339)                                                           Undetermined                        Undetermined
Trademark - Japan (App. No. 1983-103380 / Reg. No. 1844196)                                    Undetermined                        Undetermined
Trademark - Japan (App. No. 1989-005670 / Reg. No. 2712860)                                    Undetermined                        Undetermined
Trademark - Japan (App. No. 2019-098870 / Reg. No. 6262058)                                    Undetermined                        Undetermined
Trademark - Japan (App. No. 2019-098871 / Reg. No. 6262059)                                    Undetermined                        Undetermined
Trademark - Japan (App. No. 2019-098872 / Reg. No. 6262060)                                    Undetermined                        Undetermined
Trademark - Japan (App. No. 2021-053586 / Reg. No. 6488047)                                    Undetermined                        Undetermined
Trademark - Kuwait (App. No. 190778)                                                           Undetermined                        Undetermined
Trademark - Lebanon (App. No. 180785)                                                          Undetermined                        Undetermined
Trademark - Malaysia (App. No. 2013051075 / Reg. No. 2013051075)                               Undetermined                        Undetermined
Trademark - Malaysia (App. No. 2013051076 / Reg. No. 2013051076)                               Undetermined                        Undetermined
Trademark - Malaysia (App. No. 2018000573)                                                     Undetermined                        Undetermined
Trademark - Mexico (App. No. M1947638 / Reg. No. 1905731)                                      Undetermined                        Undetermined
Trademark - Mexico (App. No. M2546252 / Reg. No. 2285203)                                      Undetermined                        Undetermined
Trademark - Mexico (App. No. M2546254)                                                         Undetermined                        Undetermined
Trademark - Mexico (App. No. M2691493)                                                         Undetermined                        Undetermined
Trademark - Mexico (App. No. M2757639)                                                         Undetermined                        Undetermined
Trademark - Mexico (App. No. M2790400)                                                         Undetermined                        Undetermined
Trademark - Mexico (App. No. M2790401)                                                         Undetermined                        Undetermined
Trademark - Mexico (App. No. M300360 / Reg. No. 580379)                                        Undetermined                        Undetermined
Trademark - Mexico (App. No. M300361 / Reg. No. 692135)                                        Undetermined                        Undetermined
Trademark - Nicaragua (App. No. M2010-003420 / Reg. No. 2015111766)                            Undetermined                        Undetermined
Trademark - Nicaragua (App. No. M2010-003421 / Reg. No. 2014101255)                            Undetermined                        Undetermined
Trademark - Norway (App. No. 199808908)                                                        Undetermined                        Undetermined
Trademark - Panama (App. No. M263719-01 / Reg. No. 263719)                                     Undetermined                        Undetermined
Trademark - Panama (App. No. M73300-01 / Reg. No. 73300)                                       Undetermined                        Undetermined
Trademark - Panama (App. No. M76956-01 / Reg. No. 76956)                                       Undetermined                        Undetermined

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                                                     In re: Anagram International, Inc.
                                                             Case No. 23-90902
                                                            Schedule A/B 60 - Part 10:
                                                Patents, copyrights, trademarks, and trade secrets

                                                                                      Net book value of    Valuation method
                                                                                      debtor's interest    used for current   Current value of
Description                                                                           (where available)    value              debtor's interest
Trademark - Paraguay (App. No. 1046268)                                                       Undetermined                        Undetermined
Trademark - Paraguay (App. No. 1046271 / Reg. No. 359635)                                     Undetermined                        Undetermined
Trademark - Paraguay (App. No. 2201508)                                                       Undetermined                        Undetermined
Trademark - Peru (App. No. M436458/2010 / Reg. No. P00172517)                                 Undetermined                        Undetermined
Trademark - Peru (App. No. M55055/1998 / Reg. No. P00047597)                                  Undetermined                        Undetermined
Trademark - Peru (App. No. M716970/2017 / Reg. No. T00018406)                                 Undetermined                        Undetermined
Trademark - Peru (App. No. M780484/2019 / Reg. No. P00276402)                                 Undetermined                        Undetermined
Trademark - Peru (App. No. M780484/2019)                                                      Undetermined                        Undetermined
Trademark - Qatar (App. No. 115820)                                                           Undetermined                        Undetermined
Trademark - Saudi Arabia (App. No. 1438021948)                                                Undetermined                        Undetermined
Trademark - Singapore (App. No. 40201718053S)                                                 Undetermined                        Undetermined
Trademark - Singapore (App. No. 40202256597V)                                                 Undetermined                        Undetermined
Trademark - South Africa (App. No. 1995/11805)                                                Undetermined                        Undetermined
Trademark - South Africa (App. No. 1995/11806)                                                Undetermined                        Undetermined
Trademark - South Africa (App. No. 1995/11807)                                                Undetermined                        Undetermined
Trademark - South Africa (App. No. 2019/00291)                                                Undetermined                        Undetermined
Trademark - Spain (App. No. M1628560 / Reg. No. M1628560)                                     Undetermined                        Undetermined
Trademark - Taiwan (App. No. 107006547 / Reg. No. 1935941)                                    Undetermined                        Undetermined
Trademark - Turkey (App. No. 2017/84620 / Reg. No. 2017 84620)                                Undetermined                        Undetermined
Trademark - Ukraine (App. No. m201911197 / Reg. No. 294214)                                   Undetermined                        Undetermined
Trademark - United Arab Emirates (App. No. 275435)                                            Undetermined                        Undetermined
Trademark - United Kingdom (App. No. UK00801365172 / Reg. No. UK00801365172)                  Undetermined                        Undetermined
Trademark - United Kingdom (App. No. UK00900294686 / Reg. No. UK00900294686)                  Undetermined                        Undetermined
Trademark - United Kingdom (App. No. UK00911866944 / Reg. No. UK00911866944)                  Undetermined                        Undetermined
Trademark - United Kingdom (App. No. UK00918096666 / Reg. No. UK00918096666)                  Undetermined                        Undetermined
Trademark - Uruguay (App. No. 536277)                                                         Undetermined                        Undetermined
Trademark - US Federal (App. No. 73746711 / Reg. No. 1533437)                                 Undetermined                        Undetermined

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                                                       In re: Anagram International, Inc.
                                                               Case No. 23-90902
                                                              Schedule A/B 60 - Part 10:
                                                  Patents, copyrights, trademarks, and trade secrets

                                                                                        Net book value of    Valuation method
                                                                                        debtor's interest    used for current   Current value of
Description                                                                             (where available)    value              debtor's interest
Trademark - US Federal (App. No. 74457658 / Reg. No. 1905750)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 75087368 / Reg. No. 2052521)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 75087374 / Reg. No. 2052522)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 75707523 / Reg. No. 2598449)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 76977684 / Reg. No. 3002460)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 77072549 / Reg. No. 3322673)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 85744847 / Reg. No. 4322435)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 85938620 / Reg. No. 4509550)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 85938638 / Reg. No. 4509551)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 87437138 / Reg. No. 5345931)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88082621 / Reg. No. 5749340)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352229 / Reg. No. 5872958)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352489 / Reg. No. 5872972)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352584 / Reg. No. 5971018)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352648 / Reg. No. 5883471)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352664 / Reg. No. 5971020)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88352679 / Reg. No. 5872984)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88354550 / Reg. No. 5873198)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88354573 / Reg. No. 5942130)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88354584)                                                      Undetermined                        Undetermined
Trademark - US Federal (App. No. 88354591 / Reg. No. 5873202)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 88356578 / Reg. No. 5948031)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 90738700 / Reg. No. 6751853)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 90850550 / Reg. No. 6754162)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 97330147 / Reg. No. 7042000)                                   Undetermined                        Undetermined
Trademark - US Federal (App. No. 97450060)                                                      Undetermined                        Undetermined
Trademark - US State (App. No. PR 218113)                                                       Undetermined                        Undetermined

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                                                      In re: Anagram International, Inc.
                                                              Case No. 23-90902
                                                             Schedule A/B 60 - Part 10:
                                                 Patents, copyrights, trademarks, and trade secrets

                                                                                     Net book value of    Valuation method
                                                                                     debtor's interest    used for current    Current value of
Description                                                                          (where available)    value               debtor's interest
Trademark - Venezuela (App. No. M2010/018883 / Reg. No. P312495)                             Undetermined                         Undetermined
Trademark - Venezuela (App. No. M2019/000054)                                                Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1365172)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1630170)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1640770)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1661395)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1664833)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 1672353)                                                          Undetermined                         Undetermined
Trademark - WIPO (Reg. No. 698035)                                                           Undetermined                         Undetermined
                                                                              TOTAL:        Undetermined               TOTAL:    Undetermined




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                          In re: Anagram International, Inc.
                                  Case No. 23-90902
                                 Schedule A/B 61 - Part 10:
                           Internet domain names and websites

                                 Net book value of    Valuation method
                                 debtor's interest    used for current    Current value of
Description                      (where available)    value               debtor's interest
anagramballoon.com                       Undetermined                         Undetermined
anagramballoon.info                      Undetermined                         Undetermined
anagramballoon.net                       Undetermined                         Undetermined
anagramballoon.org                       Undetermined                         Undetermined
anagramballoons.com                      Undetermined                         Undetermined
anagramballoons.info                     Undetermined                         Undetermined
anagramballoons.net                      Undetermined                         Undetermined
anagramballoons.org                      Undetermined                         Undetermined
anagramdemexico.com                      Undetermined                         Undetermined
anagramintl.com                          Undetermined                         Undetermined
anagramusa.com                           Undetermined                         Undetermined
heliumsavers.com                         Undetermined                         Undetermined
heliumsaverspetites.com                  Undetermined                         Undetermined
mdballoons.com                           Undetermined                         Undetermined
singatune.com                            Undetermined                         Undetermined
sing-a-tune.com                          Undetermined                         Undetermined
singatuneballoon.com                     Undetermined                         Undetermined
singatuneballoons.com                    Undetermined                         Undetermined
valuelineballoons.com                    Undetermined                         Undetermined
valuelineballoons.site                   Undetermined                         Undetermined
xtralifeballoons.com                     Undetermined                         Undetermined
xtralifeballoons.net                     Undetermined                         Undetermined
                          TOTAL:        Undetermined               TOTAL:    Undetermined




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                                                  In re: Anagram International, Inc.
                                                          Case No. 23-90902
                                                        Schedule A/B 62 - Part 10:
                                                    Licenses, franchises, and royalties

                                                                              Net book value of    Valuation method
                                                                              debtor's interest    used for current    Current value of
Description                                                                   (where available)    value               debtor's interest
License Agreement - BBC Studios (Bluey)                                               Undetermined                         Undetermined
License Agreement - BBC Studios (merchandise)                                         Undetermined                         Undetermined
License Agreement - Disney Consumer Products (amended movie franchises)               Undetermined                         Undetermined
License Agreement - Disney Consumer Products (creative works)                         Undetermined                         Undetermined
License Agreement - Disney Consumer Products (Inside Out 2 characters)                Undetermined                         Undetermined
License Agreement - Disney Consumer Products (movie franchises)                       Undetermined                         Undetermined
License Agreement - Disney Consumer Products (Star Wars)                              Undetermined                         Undetermined
License Agreement - Fanatics Retail Group (logos)                                     Undetermined                         Undetermined
License Agreement - Hasbro (copyrights and trademarks)                                Undetermined                         Undetermined
License Agreement - Marvel Brands (characters)                                        Undetermined                         Undetermined
License Agreement - Mattel (trademark and copyrights)                                 Undetermined                         Undetermined
License Agreement - MGA Entertainment (L.O.L. SURPRISE)                               Undetermined                         Undetermined
License Agreement - Moonbug Entertainment (CoComelon)                                 Undetermined                         Undetermined
License Agreement - NBA Properties (marks and mascots)                                Undetermined                         Undetermined
License Agreement - NFL Properties (identified products)                              Undetermined                         Undetermined
License Agreement - NHL Enterprises (names & characters)                              Undetermined                         Undetermined
License Agreement - Nintendo of America (trademarks & copyrights)                     Undetermined                         Undetermined
License Agreement - Party City Holdings (licensed IP)                                 Undetermined                         Undetermined
License Agreement - Sega of America (Sonic the Hedgehog)                              Undetermined                         Undetermined
License Agreement - Sesame Workshop (names & graphics)                                Undetermined                         Undetermined
License Agreement - SmileyWorld (trademarks and copyrights)                           Undetermined                         Undetermined
License Agreement - Thomas Licensing (Thomas & Friends)                               Undetermined                         Undetermined
License Agreement - Universal Studios (movie franchises)                              Undetermined                         Undetermined
License Agreement - Warner Bros (movie franchises)                                    Undetermined                         Undetermined
                                                                       TOTAL:        Undetermined               TOTAL:    Undetermined




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                                            In re: Anagram International, Inc.
                                                    Case No. 23-90902
                                                         Schedule A/B 73
                                           Interests in insurance policies or annuities

                                                                                                          Current value of
Company                                                                  Account number / Policy number   debtor's interest
AIG - Business Travel Accident                                        MTA 0009156527                         Undetermined
AIG - D&O 1st Excess                                                  01-588-54-48                           Undetermined
AIG - Excess EPL                                                      01-588-54-48                           Undetermined
Alchemy - Property                                                    B080124310U23                          Undetermined
Allianz - Property                                                                                           Undetermined
Allianz - Punitive Wrap                                                                                      Undetermined
Allianz - XS Liability                                                USL003107233                           Undetermined
Amlin - Property                                                                                             Undetermined
Arch Insurance Company - Excess – Arch Essential Lead Side A DIC      ABL1000146-00                          Undetermined
Arch Insurance Company - Excess Cyber Liability                       NPL0067050-02                          Undetermined
Ark - Property                                                                                               Undetermined
ARK2 - Property                                                       B080122646U23                          Undetermined
Aspen - Property                                                      PX00Q5K23A                             Undetermined
Atrium - Property                                                     B080122645U23                          Undetermined
Awac - Property                                                       0314-0907-1A                           Undetermined
AXA XL - D&O Excess Side-A                                            ELU193195-23                           Undetermined
AXA XL - Excess Cyber Liability                                       MTE9032511 08                          Undetermined
AXA XL - Punitive Wrap                                                                                       Undetermined
AXA XL - XS Liability                                                 US00064480LI23A                        Undetermined
Axis - Property                                                                                              Undetermined
Axis (London) - Property                                              B080124362U23                          Undetermined
AXIS Surplus Insurance Company - Excess Cyber Liability               P-001-001263034-01                     Undetermined
Beazley - Crime                                                       V25943230601                           Undetermined
Beazley - Property                                                    B6012BUSAPROP23                        Undetermined
Beazley Ins Co - Primary Cyber Liability                              W35B78230101                           Undetermined
Berkley - D&O Lead Side-A                                             BPRO8099529                            Undetermined
Berkshire - D&O Excess Side-A                                         47-EMC-331550-01                       Undetermined
BRIT - Property                                                       B080124328U23                          Undetermined
Chubb - D&O Primary                                                   8264-0322                              Undetermined
Chubb - EPL                                                           8264-0322                              Undetermined
Chubb - Fiduciary                                                     8264-0322                              Undetermined
Chubb - Inland Marine (Forklifts)                                     0670-40-02 EUC                         Undetermined
Chubb - International Package                                         CXC D37914563 010                      Undetermined

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                                               In re: Anagram International, Inc.
                                                       Case No. 23-90902
                                                            Schedule A/B 73
                                              Interests in insurance policies or annuities

                                                                                                             Current value of
Company                                                                     Account number / Policy number   debtor's interest
CORE / Starstone - Property                                              O84815231CSP                           Undetermined
Crum & Forster Specialty Insurance Co. - Excess Cyber Liability          XEO 00 001 01 16                       Undetermined
Fidelis - Property                                                       B080122647U23                          Undetermined
Hanseatic - Punitive Wrap                                                                                       Undetermined
HCC - Property                                                                                                  Undetermined
Ki - Property                                                                                                   Undetermined
Kinsale - Property                                                                                              Undetermined
Lex London - Property                                                    B080118709U23                          Undetermined
Liberty Mutual - XS Liability                                            ECO (24) 64062528                      Undetermined
Lloyds - Strikes, Riots, Civil Commotion                                                                        Undetermined
Lloyds - Terrorism – Active Assailant                                    B080114970L23                          Undetermined
Lloyds - Terrorism - Sabotage                                            B080116554L23                          Undetermined
Magna Carta - Punitive Wrap                                                                                     Undetermined
Magna Carta - Punitive Wrap                                                                                     Undetermined
Markel - Property                                                        MKLV1XPR000789                         Undetermined
Mitsui - Property                                                        EXP7001002                             Undetermined
Munich Re - Property                                                     78-A3-XP-0000875-02                    Undetermined
Navigators / Hartford - XS Liability                                     NY23RXSZ0D395IV                        Undetermined
North Shore (Aspen) - Excess CA Earthquake                               NSM43279                               Undetermined
Partner Re - Property                                                    B080122648U23                          Undetermined
QBE Insurance Corporation - D&O Excess                                   130005785                              Undetermined
RSUI - Property                                                          LHD938418                              Undetermined
Sompo (Bda) - Property                                                   BPD30000497600                         Undetermined
Starr - Property                                                         SLSTPTY11926723                        Undetermined
Starr Specialty - Property                                               23SLCFM12161401                        Undetermined
Steadfast / Zurich - XS Liability                                        IPR 379 2420-04                        Undetermined
Steadfast Insurance Company - Excess Cyber Liability                     SPR 3305134 - 01                       Undetermined
Talbot - Property                                                        B080124309U23                          Undetermined
Travelers - General Liability                                            TJEXGL-2H535771 -TIL-23                Undetermined
Travelers - Workers Compensation - AOS                                   UB-0R661932-23-51-K                    Undetermined
Travelers - Workers Compensation – AZ, MA, WI                            UB-0R641030-23-51-R                    Undetermined
Travelers - Auto Liability                                               TJCAP-824K2754-TIL-23                  Undetermined
Travelers - Inland Marine (Trailers)                                                                            Undetermined

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                                        In re: Anagram International, Inc.
                                                Case No. 23-90902
                                                     Schedule A/B 73
                                       Interests in insurance policies or annuities

                                                                                                       Current value of
Company                                                             Account number / Policy number     debtor's interest
Travelers - Ocean Cargo                                           CUP-2W226283-22-NF                      Undetermined
Travelers - Punitive Wrap - Umbrella                                                                      Undetermined
Travelers - Umbrella – Primary                                    CUP-2W226283-23-NF                      Undetermined
Westfield - Property                                              XAR-00004FN-02                          Undetermined
Zurich - D&O Excess ABC                                           DOC 5690289-00                          Undetermined
Zurich - Property                                                 PPR-0920886-02                          Undetermined
                                                                                              TOTAL:     Undetermined




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                                                                                                                 In re Anagram International, Inc.
                                                                                                                        Case No. 23-90902
                                                                                                                        Schedule E/F, Part 1
                                                                                                         Creditors Who Have PRIORITY Unsecured Claims




                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                         Contingent
                                                                                                                                                             Account Specify Code




                                                                                                                                                                                                                                      Disputed
                                                                                                                                                             number subsection: 11
                                                                                                                                                    Date     (last 4   § U.S.C.    Basis for Subject to
Line Priority Creditor's Name               Address 1                      Address 2                        City           State Zip        Country incurred digits)  507(a)(__)   claim     offset (Y/N)                   Total claim    Priority amount
   2.1 Canada Revenue Agency                1050 Notre Dame Blvd                                            Sudbury        ON    P3A 5C1    Canada                         8       Taxes          N                    X      Undetermined    Undetermined
   2.2 City of Bloomington                  Attn; Building & Inspections   1800 West Old Shakopee Road      Bloomington    MN    55431                                     8       Taxes          N                    X      Undetermined    Undetermined
   2.3 Hennepin County Treasurer            A-600 Government Center        300 S 6th St                     Minneapolis    MN    55487-0060                                8       Taxes          N                    X      Undetermined    Undetermined
   2.4 Internal Revenue Service             1111 Constitution Ave. NW                                       Washington     DC    20224                                     8       Taxes          N       X            X X    Undetermined    Undetermined
   2.5 Minnesota Dept. of Revenue           600 North Robert Street                                         St. Paul       MN    55146-0622                                8       Taxes          N                    X      Undetermined    Undetermined
   2.6 Minnesota Pollution Control Agency   520 Lafayette Road N                                            St. Paul       MN    55155                                     8       Taxes          N                    X      Undetermined    Undetermined
   2.7 State of California                  800 Capitol Mall               Mic 53                           Sacramento     CA    95814                                     8       Taxes          N                    X      Undetermined    Undetermined
   2.8 State of Michigan                    105 W. Allegan Street                                           Lansing        MI    48933                                     8       Taxes          N                    X      Undetermined    Undetermined
   2.9 State of Washington                  2101 4th Avenue                Suite 1400                       Seattle        WA 98121                                        8       Taxes          N                    X      Undetermined    Undetermined
                                                                                                                                                                                                                      TOTAL: Undetermined Undetermined




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                                                                                                                  In re: Anagram International, Inc.
                                                                                                                          Case No. 23-90902
                                                                                                                          Schedule E/F, Part 2
                                                                                                        Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                                                                 Disputed
                                             Creditor Notice                                                                                                                            Date                          Subject to
Line Nonpriority Creditor's Name             Name              Address 1                         Address 2                City                  State       Zip        Country          Incurred   Basis for claim    offset (Y/N)                                          Amount of claim
   3.1 ABF Freight System, Inc.                                3801 Old Greenwood Road                                    Fort Smith            AR          72917-0048                  Various    Trade Payables          N                                                       $21,388.78
   3.2 Acquia Inc                                              53 State Street                   10th Floor               Boston                MA          02109                       Various    Trade Payables          N                                                          $256.12
   3.3 Advansix, Inc                                           300 Kimball Drive                 Suite 101                Parsippany            NJ          07054                       Various    Trade Payables          N                                                     $242,945.02
   3.4 Airgas USA LLC                                          259 N. Radnor-Chester Road        Suite 100                Radnor                PA          19087                       Various    Trade Payables          N                                                          $131.41
   3.5 American Express                                        200 Vesey Street                                           New York              NY          10285                       Various    Trade Payables          N                                                       $84,974.63
   3.6 Anderson & Vreeland Inc                                 15348 Us Route 127 EW                                      Bryan                 OH          43506                       Various    Trade Payables          N                                                       $17,359.55
   3.7 Applied Products Inc.                                   12000 Product Dr                                           Machesney Park        IL          61115                       Various    Trade Payables          N                                                        $7,038.01
   3.8 Aramark Uniform & Career Apparel                        25259 Network Place                                        Chicago               IL          60673-1252                  Various    Trade Payables          N                                                       $42,345.79
                                                               Zhongnongxin Bldg No 181, East
  3.9 Arcus Industrial Limited                                 Zhongshan Road, Haishu District   Room 2502                Ningbo                            315000     China            Various    Trade Payables          N                                                       $10,650.00
 3.10 Associated Spring Raymond                                Barnes Group Inc.                 Dept CH 14115            Palatine              IL          60055-4115                  Various    Trade Payables          N                                                          $570.71
 3.11 B&F Fastener Supply                                      7100 Sunwood Drive                                         Ramsey                MN          55303                       Various    Trade Payables          N                                                          $194.95
 3.12 Balloons Everywhere                                      16474 Greeno Road                                          Fairhope              AL          36532-5528                  Various    Trade Payables          N                                                        $9,594.09
 3.13 Bank of America                                          100 North Tryon Street                                     Charlotte             NC          28202                       Various    Trade Payables          N                                                       $19,057.40
 3.14 Barcodes LLC                                             200 W Monroe                      23rd Floor               Chicago               IL          60606                       Various    Trade Payables          N                                                       $29,996.03
 3.15 Beech Design                                             642 Wabash Ave                    P.O. Box 947             New Philadelphia      OH          44663                       Various    Trade Payables          N                                                          $237.26
 3.16 Bees Industrial Services                                 1214 5th Street South                                      Hopkins               MN          55343                       Various    Trade Payables          N                                                        $6,933.44
 3.17 Berne Scale                                              2200 Edgewood Avenue South                                 Minneapolis           MN          55426                       Various    Trade Payables          N                                                        $1,210.95
 3.18 Berwick Offray LLC                                       450 Plymouth Rd                                            Plymouth Meeting      PA          19462                       Various    Trade Payables          N                                                       $34,560.00
 3.19 Blanda Incorporated                                      2963 Center Court                                          Eagan                 MN          55121                       Various    Trade Payables          N                                                        $1,292.00
 3.20 Border States Electric Supply                            2400 38th Street South                                     Fargo                 ND          58103                       Various    Trade Payables          N                                                        $2,233.70
 3.21 C&S Vending                                              1919 2nd Street N.W                                        Faribault             MN          55021                       Various    Trade Payables          N                                                        $3,166.86
 3.22 Calrose LLC                                              1377 31st St                                               Houlton               WI          54082                       Various    Trade Payables          N                                                        $5,946.08
 3.23 Carey Color Inc                                          6835 Ridge Road                                            Sharon Center         OH          44274                       Various    Trade Payables          N                                                        $2,140.00
 3.24 Casco Development Inc                                    36 Thurber Boulevard                                       Smithfield            RI          02917                       Various    Trade Payables          N                                                       $12,733.00
 3.25 Centerpoint Energy                                       1111 Louisiana Street                                      Houston               TX          77002                       Various    Trade Payables          N                                                        $2,224.99
 3.26 CenturyLink-LUMEN                                        100 Centurylink Drive                                      Monroe                LA          71201                       Various      Trade Payables        N                                                        $1,920.04
 3.27 Charity USA.Com, LLC                                     600 University St                 Suite 1000               Seattle               WA          98101                       Various    Trade Payables          N                                                           $12.00
                                                                                                 East Industrial Zone,
                                                               Mr. Shaowen Wang, Owner/General   Annan Road, Anbu,
 3.28 Chaoan Hengsheng Industrial Co., Ltd                     Manager                           Chaoan County            Chaozhou              Guangdong              China            Various    Trade Payables          N                                                      $652,039.60
 3.29 Charter Nex Films Inc                                    300 N Lasalle Dr                                           Chicago               IL          60654                       Various    Trade Payables          N                                                        $1,339.20
 3.30 Charter Next Generation Inc                              300 N Lasalle Dr                  Suite 1575               Chicago               IL          60654                       Various    Trade Payables          N                                                       $86,630.90
 3.31 Clearbags                                                c/o Clear Image Inc               205 Henco Drive, Ste A   Selmer                TN          38375                       Various    Trade Payables          N                                                      $185,515.78
 3.32 Computer Integration Technologies                        2375 Ventura Drive                                         Woodbury              MN          55125                       Various    Trade Payables          N                                                        $2,713.13
 3.33 Container Port Group, Inc.                               1340 Depot Street                                          Rocky River           OH          44116                       Various    Trade Payables          N                                                          $800.06
 3.34 Converter Accessory Corp.                                201 Alpha Road                    P.O. Box 188             Wind Gap              PA          18091-0188                  Various    Trade Payables          N                                                          $204.17
 3.35 Convertidora Industrial                                  Rio De La Loza 2073 Col. Atlas                             Guadalajara           Jalisco     44870      Mexico           Various    Trade Payables          N                                                      $564,066.40
 3.36 Conwin, Inc.                                             730 Salem St                                               Glendale              CA          91203                       Various    Trade Payables          N                                                          $625.80
 3.37 Coval Vacuum Technology Inc                              901 Jones Franklin Rd             Suite 100                Raleigh               NC          27606                       Various    Trade Payables          N                                                          $772.28
 3.38 Creative Refrigeration Devices Ltd                       P.O. Box 507                                               Hopkins               MN          55343                       Various    Trade Payables          N                                                       $24,207.48
 3.39 Crown Lift Truck                                         8650 109th Ave N                                           Champlin              MN          55316                       Various    Trade Payables          N                                                       $50,456.17
 3.40 Custom Tube Co                                           6260 Claude Way E                                          Inver Grove Heights   MN          55076                       Various    Trade Payables          N                                                        $2,258.99
 3.41 Dah Loong Development Co. Ltd                            Nanking E Rd., Sec 2              13F-1, No. 206           Taipei                                       Taiwan, R.O.C.   Various    Trade Payables          N                                                       $98,900.43
 3.42 Davis - Standard LLC                                     1 Extrusion Drive                                          Pawcatuck             CT          15251-4772                  Various    Trade Payables          N                                                       $52,221.00
 3.43 DSV Air & Sea Inc                                        DSV Headquaters 630                                        Hedehusene            Hovedstaden 2640       Denmark          Various    Trade Payables          N                                                       $35,305.58
 3.44 Durr Systems, Inc.                                       830 Prosper Street                                         De Pere               WI          54115                       Various    Trade Payables          N                                                       $23,095.30
 3.45 Esko-Graphics Inc                                        33066 Collection Center Dr                                 Chicago               IL          60693-0330                  Various    Trade Payables          N                                                        $2,298.00
 3.46 Excel Temp Inc                                           7625 Metro Blvd                   Suite 150                Edina                 MN          55439                       Various    Trade Payables          N                                                       $26,254.59
 3.47 Finzer Roller Inc                                        6556 Solution Center                                       Chicago               IL          60677-6005                  Various    Trade Payables          N                                                       $12,006.90
 3.48 Fipa Inc                                                 1855 Evans Road                                            Cary                  NC          27513                       Various    Trade Payables          N                                                          $730.08
 3.49 Flex Films USA Inc                                       1221 North Black Branch Road                               Elizabethtown         KY          42701                       Various    Trade Payables          N                                                            $0.89
 3.50 Formerra, LLC                                            1250 Windham Parkway                                       Romeoville            IL          60446                       Various    Trade Payables          N                                                      $794,574.38
 3.51 Grainger, Inc.                                           Dept. 830001590                                            Palatine              IL          60038-0001                  Various    Trade Payables          N                                                        $6,330.79
 3.52 GTL, Inc.                                                14105 Azurite St NW                                        Ramsey                MN          55303                       Various    Trade Payables          N                                                       $37,103.08
 3.53 Guardian Pest Solutions, Inc                             3131 Halvor Lane                                           Superior              WI          54880                       Various    Trade Payables          N                                                          $131.43
 3.54 Haberman Machine Inc                                     6290 Hwy 36 Blvd N                                         Oakdale               MN          55128                       Various    Trade Payables          N                                                        $5,866.76
 3.55 Hartfiel Automation                                      6533 Flying Cloud Drive           #100                     Eden Prairie          MN          55344                       Various    Trade Payables          N                                                        $1,007.76
 3.56 Home Depot Credit Services                               2455 Paces Ferry Road                                      Atlanta               GA          30339                       Various    Trade Payables          N                                                        $2,548.65
 3.57 Howard Precision Metals, Inc.                            8058 N 87th Street                                         Milwaukee             WI          53224                       Various    Trade Payables          N                                                       $33,378.35
 3.58 Identisys Inc                                            7630 Commerce Way                                          Eden Prairie          MN          55344                       Various    Trade Payables          N                                                          $869.23
 3.59 Igus Bearings Inc                                        257 Ferris Avenue                                          Rumford               RI          02916                       Various    Trade Payables          N                                                          $462.21




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                                                                                                                                  Case No. 23-90902
                                                                                                                                  Schedule E/F, Part 2
                                                                                                                Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                                                               Disputed
                                                 Creditor Notice                                                                                                                       Date                         Subject to
Line Nonpriority Creditor's Name                 Name                 Address 1                          Address 2                  City              State       Zip        Country   Incurred   Basis for claim   offset (Y/N)                                          Amount of claim
  3.60 Infor (US), Inc                                                641 Avenue of the Americas                                    New York          NY          10011                Various    Trade Payables         N                                                     $149,989.18
  3.61 Innovative Office Solutions LLC                                151 Cliff Road East                                           Burnsville        MN          55337                Various    Trade Payables         N                                                        $4,148.99
  3.62 Interflex LLC                                                  175 Tradd Street                                              Spartanburg       SC          29301                Various    Trade Payables         N                                                        $8,624.00
  3.63 Iowa Prison Industries                                         406 N High St                                                 Anamosa           IA          52205                Various    Trade Payables         N                                                     $249,425.38
  3.64 ISC Companies Inc                                              12905 Highway 55                                              Plymouth          MN          55441                Various    Trade Payables         N                                                        $2,215.20
  3.65 John Henry Foster Minnesota, Inc.                              3103 Mike Collins Drive                                       Eagan             MN          55121                Various    Trade Payables         N                                                        $7,475.20
  3.66 Keyence Corp. of America                                       Dept 17128                                                    Palantine         IL          600557128            Various    Trade Payables         N                                                        $1,013.68
  3.67 Label Products, Inc.                                           12571 Oliver Ave S                 Suite 700                  Burnsville        MN          55337                Various    Trade Payables         N                                                       $22,588.20
  3.68 Label Specialties Inc                                          2501 Technology Drive                                         Louisville        KY          40299                Various    Trade Payables         N                                                        $3,081.38
  3.69 Labelink USA Inc                                               2915 N Progress Dr                 dba: Pro Label LLC         Appleton          WI          54911                Various    Trade Payables         N                                                       $22,185.32
  3.70 Lads Logistics                                                 12120 69th Avenue N                                           Maple Grove       MN          55311                Various    Trade Payables         N                                                        $9,455.00
  3.71 Lathrop GPM                                                    2345 Grand Blvd                                               Kansas City       MO          64108-2618           Various    Trade Payables         N                                                        $6,914.00
  3.72 Liberty Packaging                                              5600 North Highway 169                                        Minneapolis       MN          55428                Various    Trade Payables         N                                                       $66,475.86
  3.73 License My Software LLC                                        581 Vicki Lane                                                Shoreview         MN          55126                Various    Trade Payables         N                                                          $678.28
  3.74 Lifeworks Services                                             6636 Cedar Ave S                   Suite 250                  Richfield         MN          55423                Various    Trade Payables         N                                                        $4,083.46
  3.75 Malark Industries, Inc                                         9200 Forestview Lane N.                                       Maple Grove       MN          55369                Various    Trade Payables         N                                                       $47,787.60
  3.76 Maxcess Americas Inc                                           1211 W. 22nd Street                Suite 804                  Oak Brook         IL          60523                Various    Trade Payables         N                                                            $64.55
  3.77 Mayflower Distributing Co, Inc.                                1155 Medallion Drive                                          Mendota Heights   MN          55120                Various    Trade Payables         N                                                       $21,510.00
  3.78 Mc Master - Carr Supply Company                                600 N. County Line Road                                       Elmhurst          IL          60126                Various    Trade Payables         N                                                        $2,993.34
  3.79 Mechatronic Solutions                                          10900 73rd Ave N                   #132                       Maple Grove       MN          55369                Various    Trade Payables         N                                                        $6,823.22
  3.80 Midrange Dynamics North America                                P.O. Box 55                                                   Peterborough      NH          03458                Various    Trade Payables         N                                                       $31,240.00
  3.81 Midwest Rubber Service                                         14307 28th Place North                                        Minneapolis       MN          55447                Various    Trade Payables         N                                                     $203,220.73
  3.82 MINNCOR Industries                                             2420 Long Lake Road                                           Roseville         MN          55113                Various    Trade Payables         N                                                     $585,889.28
  3.83 Minnesota Waterjet, Inc                                        14445 Azurite Street Nw                                       Ramsey            MN          55303                Various    Trade Payables         N                                                        $2,028.75
  3.84 Motio Inc                                                      7161 Bishop Rd                     #200                       Plano             TX          75024                Various    Trade Payables         N                                                        $1,776.00
  3.85 Motion AI - AI01                                               1605 Alton Road                                               Birmingham        AL          35210                Various    Trade Payables         N                                                        $4,056.06
  3.86 Motion Industries, Inc                                         1605 Alton Road                                               Birmingham        AL          35210                Various    Trade Payables         N                                                        $4,723.86
  3.87 MSC Industrial Supply Co Inc                                   525 Harbour Place Drive                                       Davidson          NC          28036                Various    Trade Payables         N                                                        $2,899.10
  3.88 Nashville Display                                              306 Hartmann Drive                                            Lebanaon          TN          37087                Various    Trade Payables         N                                                       $11,905.00
  3.89 NDC Technologies Inc                                           21545 Network Place                                           Chicago           IL          606731215            Various    Trade Payables         N                                                       $11,232.65
  3.90 Next Management LLC                                            15 Watts Street                                               New York          NY          10013                Various    Trade Payables         N                                                          $887.40
  3.91 Old Dominion Freight Line Inc.                                 14933 Collections Center Drive                                Chicago           IL          606934933            Various    Trade Payables         N                                                       $89,050.16
  3.92 Olympak Printing & Packaging                                   6010 Earle Brown Drive                                        Brooklyn Center   MN          55430                Various    Trade Payables         N                                                        $6,438.54
  3.93 OPS Assembly Inc                                               689 Medina St N                    Suite 150                  Loretto           MN          55357                Various    Trade Payables         N                                                        $8,302.10
  3.94 Oxygen Service Company                                         111 Pierce Butler Route                                       St. Paul          MN          55164-0017           Various    Trade Payables         N                                                       $53,093.86
  3.95 Packedge Corporation                                           3537 88th Ave NE                                              Circle Pines      MN          55014                Various    Trade Payables         N                                                        $6,247.23
                                                                                                         43A-45 Jardine's Bazaar,
 3.96 Party Fashion Co., Ltd                                          Man Man Commercial Building        Suite 3B, 3/F              Causeway Bay      Hong Kong                China   Various    Trade Payables         N                                                      $652,039.60
 3.97 Pellet America Corporation                                      2601 West 2nd Street                                          Appleton          WI          54914                Various    Trade Payables         N                                                        $2,825.00
 3.98 Power/Mation Division                                           1310 Energy Lane                                              St. Paul          MN          55108                Various    Trade Payables         N                                                          $707.60
 3.99 Premium Balloon Accessories                                     6935 Ridge Road                                               Wadsworth         OH          44281                Various    Trade Payables         N                                                       $58,704.68
3.100 Premium Retail Services Inc                                     618 Spirit Drive                   Suite 200                  Chesterfield      MO          63005                Various    Trade Payables         N                                                      $248,348.24
3.101 R&L Carriers, Inc                                               600 Gillam Road                                               Wilmington        OH          45177                Various    Trade Payables         N                                                          $978.72
3.102 Radwell International Inc                                       1 Millennium Drive                                            Willingboro       NJ          08046                Various    Trade Payables         N                                                        $1,149.76
3.103 Reid Supply                                                     1269 E Mount Garfield Road                                    Norton Shores     MI          49441                Various    Trade Payables         N                                                          $623.99
3.104 Restek Corporation                                              110 Benner Circle                                             Bellefonte        PA          16832                Various    Trade Payables         N                                                        $1,643.15
3.105 RS Americas, Inc.                                               7151 Jack Newell Boulevard South                              Fort Worth        TX          76118                Various    Trade Payables         N                                                          $765.29
3.106 Ryder Truck Rental, Inc., d/b/a Ryder Transportation Services   3615 Hwy 13 W                                                 Burnsville        MN          55337                Various    Trade Payables         N                                                       $14,407.06
3.107 Seaman Paper Company of Mass Inc                                35 Wilkins Road                                               Gardner           MA          01440                Various    Trade Payables         N                                                        $6,423.40
3.108 Shadow Plastics LLC                                             2301 Pioneer Ave                                              Rice Lake         WI          54868                Various    Trade Payables         N                                                       $51,640.42
3.109 Sideweld Industries, Inc                                        1485 N Clinton Avenue                                         Bay Shore         NY          11706                Various    Trade Payables         N                                                        $3,370.00
3.110 Siegwerk USA Inc                                                3535 Southwest 56th Street                                    Des Moines        IA          50321                Various    Trade Payables         N                                                      $671,638.87
3.111 Sir Speedy                                                      616 Second Ave SE                                             Minneapolis       MN          55414                Various    Trade Payables         N                                                        $5,323.60
3.112 Sojitz Plastics America Inc                                     231525 Momentum Place                                         Chicago           IL          60689-5311           Various    Trade Payables         N                                                      $162,353.38
3.113 South St Paul Steel Supply                                      200 Hardman Avenue North                                      South Paul        MN          55075                Various    Trade Payables         N                                                        $1,144.69
3.114 Southern Graphics Systems                                       24453 Network Place                                           Chicago           IL          60673-1244           Various    Trade Payables         N                                                       $99,296.15
3.115 Spectratek Technologies Inc                                     9834 Jordan Circle                                            Santa Springs     CA          90670                Various    Trade Payables         N                                                       $69,688.98
3.116 Summit Information Resources Inc                                2935 Waters Road                   Suite 200                  Eagan             MN          55121                Various    Trade Payables         N                                                          $291.39
3.117 Taylor Print Impressions                                        1725 Roe Crest Drive                                          North Mankato     MN          56003                Various    Trade Payables         N                                                      $316,123.36
3.118 The Winston Company                                             2837 Anthony Lane South                                       Minneapolis       MN          55418-3269           Various    Trade Payables         N                                                       $26,082.05




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                                                                                                              In re: Anagram International, Inc.
                                                                                                                      Case No. 23-90902
                                                                                                                      Schedule E/F, Part 2
                                                                                                    Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                                                     Disputed
                                            Creditor Notice                                                                                                                  Date                         Subject to
Line   Nonpriority Creditor's Name          Name              Address 1                      Address 2                City                State       Zip          Country   Incurred   Basis for claim   offset (Y/N)                                          Amount of claim
                                            Attn: Accounts
                                            Receivable,
3.119 Toppan USA, Inc                       Toppan USA, Inc   603 Rehoboth Road                                       Griffin             GA          30224                  Various    Trade Payables         N                                                       $60,336.41
3.120 Toray Plastics (America), Inc.                          50 Belver Avenue                                        North Kingstown     RI          02852                  Various    Trade Payables         N                                                      $323,049.04
3.121 Uline                                                   12575 Uline Drive                                       Pleasant Prairie    WI          53158                  Various    Trade Payables         N                                                        $8,054.16
3.122 United Healthcare Insurance Co.-NY                      P.O. Box 1459                                           Minneapolis         MN          55440                  Various    Trade Payables         N                                                        $1,027.87
3.123 United Rentals                                          100 First Stamford Place       Suite 700                Stamford            CT          06902                  Various    Trade Payables         N                                                        $2,098.80
3.124 UPS                                                     55 Glenlake Parkway, NE                                 Atlanta             GA          30328                  Various    Trade Payables         N                                                       $20,295.39
                                            Attn: Customs
                                            Brokerage
3.125 UPS Supply Chain Solutions, Inc       Services          28013 Network Place                                     Chicago             IL          60673-1280             Various    Trade Payables         N                                                       $17,705.33
3.126 US Compliance Corporation                               520 3rd St                     #100                     Excelsior           MN          55331                  Various    Trade Payables         N                                                        $1,023.35
3.127 USA Truck Inc                                           3200 Industrial Park Road                               Van Buren           AR          72956                  Various    Trade Payables         N                                                       $31,354.00
3.128 Velocity, a Managed Svcs Co, Inc                        6936 Spring Valley Drive                                Holland             OH          43528                  Various    Trade Payables         N                                                          $211.47
3.129 Verizon                                                 1095 Avenue of the Americas                             New York            NY          10036                  Various    Trade Payables         N                                                          $718.89
3.130 Viscofan USA Inc                                        50 County Court                                         Montgomery          AL          36105                  Various    Trade Payables         N                                                      $356,646.06
3.131 Walmark Corporation                                     101 W Belvidere Rd                                      Round Lake          IL          60073                  Various    Trade Payables         N                                                        $6,759.23
3.132 Webb Pallet Service Corp                                16640 Jordan Ave                                        Jordan              MN          55352                  Various    Trade Payables         N                                                       $21,436.50
3.133 Western Shield Acquisitions LLC                         4020 23rd Ave South                                     Minneapolis         MN          55407                  Various    Trade Payables         N                                                         $744.96
3.134 Windmoeller & Hoelscher Corporation                     23 New England Way                                      Lincoln             RI          02865                  Various    Trade Payables         N                                                       $43,365.15

3.135 Wuxi Raychina Intl'l Corp                               28 FL Mingzhu Mansion          No 88-1 Zhongshan Road Wuxi                  Jiangsu     214001       China     Various    Trade Payables         N                                                        $13,098.96
3.136 Yale Mechanical                                         220 W 81st St                                         Minneapolis           MN          55410                  Various    Trade Payables         N                                                         $3,021.74
3.137 Zephyr Solutions                                        1050 Lear Industrial Parkway                          Avon Lake             OH          44011                  Various    Trade Payables         N                                                           $189.24
                                                                                                                                                                                                                                      TOTAL:                         $8,233,056.67




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                                                                                                                            In re Anagram International, Inc.
                                                                                                                                   Case No. 23-90902
                                                                                                                                       Schedule G
                                                                                                                        Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                 State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                 for and the nature of the debtor's        State the term
Line unexpired lease                               Creditor Notice Name             Address 1                       Address 2                   Address 3          City              State   Zip          Country          interest                                  remaining
   2.1 5300 W76 LLC                                                                 5300 West 76th Street                                                          Edina             MN      55439                         Seventh Amendment to Lease                         Unknown
   2.2 Aaron Paye                                                                   deb@carynmodels.com                                                                                                                    Photograph and Video Release                       Unknown
                                                                                                                                                                                                                           ABC Studios Material Release
   2.3 ABC Studios                                                                  77 W 66th St                                                                   New York          NY      10023                         Agreement                                        Unknown
   2.4 Abigail Assefa                                                               deb@carynmodels.com                                                                                                                    Photograph and Video Release                     Unknown

   2.5 Acosta Sales & Marketing Company                                             6630 Southpoint Parkway                                                        Jacksonville      FL      32216                         Broker-Client Retail Services Contract           Evergreen

   2.6 AD-HOC                                                                       17853 Santiago Blvd             Ste. 107-194                                   Villa Park        CA      92861                         Authorized Manufacturer's Agreement              Unknown
                                                                                                                                                                                                                           Total Document Management
   2.7 Advanced Imaging Solutions, Inc.                                             6121 Baker Road                 Ste. 110                                       Minnetonka        MN      55345                         Agreement                                        Evergreen
                                                   Assistant Controller-Central
   2.8 AEROTEK, Inc.                               Region                           7301 Parkway Dr.                                                               Hanover           MD      21076                         Services Agreement                               Evergreen
                                                                                                                                                                                                                           Designation as Importer Security Filing
   2.9 Allport Cargo Services USA Inc.                                              1455 Broad Street                                                              Bloomfield        NJ      07003                         Agent Power of Attorney                          Evergreen
  2.10 ALLWEATHER ROOF                                                              9211 Plymouth Ave North                                                        Golden Valley     MN      55427                         Purchase Agreement                                Unknown
  2.11 American Express                                                             200 Vesey Street                                                               New York          NY      10285                         Credit Card Services Agreement                    Unknown
       American Federation of Television and Radio                                                                                                                                                                         Letter re: Approving AFTRA
  2.12 Artists                                                                      5757 Wilshire Blvd              9th Floor                                      Los Angeles       CA      90036-3689                    Commercial Contract                               Unknown
  2.13 American Greetings Corporation              Attn: Charlotte Bean             One American Road                                                              Cleveland         OH      44144                         Master License Agreement                         Evergreen

  2.14 American Greetings Corporation              Attn Vice President, Licensing   One American Road                                                              Cleveland         OH      44144                         Mutual Non-Disclosure Agreement                  Unknown
                                                                                                                                                                                                                           Propane Supply Agreement &
  2.15 AmeriGas Propane, LP                                                         P.O. Box 965                                                                   Valley Forge      PA      19482                         Equipment Lease Non-Residential                  Evergreen

                                                                                                                                                                                                                           First Amendment to License
  2.16 Amscan Holdings, Inc.                                                        80 Grasslands Road                                                             Elmsford          NY      10523                         Agreement Dated November 15, 2005                 Unknown
  2.17 Amscan Inc.                                                                  80 Grasslands Road                                                             Elmsford          NY      10523                         Supply Agreement                                 Evergreen
                                                                                                                                                                                                                           Authorization of Unannounced
  2.18 Amscan Inc.                                                                  1 Celebration Square                                                           Woodcliff Lake    NJ      07677                         Compliance Audits (AUCA)                         Unknown
  2.19 Amscan Inc.                                                                  80 Grasslands Road                                                             Elmsford          NY      10523                         Settlement Agreement                             Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.20 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Hallmark Agreement                               Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.21 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   HIT (MTK) Agreement                              Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.22 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Nickelodeon Blaze Agreement                      Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton                                         Nickelodeon Shimmer and Shine
  2.23 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Agreement                                        Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.24 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Nickelodeon UK Ltd Agreement                     Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.25 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Nickelodeon UK TMNT Agreement                    Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.26 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   Paw Patrol Agreement                             Unknown
                                                                                    Unit 4 & 5 Torc Business Park                                                  Kingston Milton
  2.27 Amscan UK                                   Jacob Megram                     Chippenham Drive                                                               Keynes                    MK10 0DA     United Kingdom   SmileyWorld Agreement                            Unknown
                                                   Attn: Darin Lyon, Vice
  2.28 Anderson & Vreeland, Inc.                   President/General Manager        P.O. Box 527                    15348 St Rt. 127                               Bryan             OH      43506                         Equipment & Materials Agreement                  Unknown

                                                                                                                                                                                                                           First Amendment to Master Services
  2.29 Anderson Merchandisers, LLC                                                  5601 Granite Pkwy #1400                                                        Plano             TX      75024                         Agreement Dated December 21, 2017                Unknown

  2.30 Aramark                                                                      115 North First Street                                                         Burbank           CA      91502                         Industrial Laundry Service Agreement             Unknown
  2.31 Austin Paye                                                                  deb@carynmodels.com                                                                                                                    Photograph and Video Release                     Unknown
  2.32 Ayana Chan-Khan                             Hannah Chan                      Address on File                                                                                                                        Photograph and Video Release                     Unknown
  2.33 Balloon Express SRL                                                          Via Vittorio Veneto, 105                                                       Pontedera         Pl      56025        Italy            Confidentiality Agreement                        Unknown
  2.34 Bank of America                                                              100 North Tryon Street                                                         Charlotte         NC      28202                         Credit Card Services Agreement                   Unknown
                                                                                                                                                                                                                           Contract for Value Engineering Study
  2.35 Barry-Wehmiller International Resources     Christopher Hric                 8020 Forsyth Blvd.                                                             St. Louis         MO      63105                         and Assessment                                   Unknown
                                                   Attn Ms. Pam McNelly,
  2.36 Bay West                                    Contracts Manager                5 Empire Drive                                                                 St. Paul          MN      55103                         Master Service Agreement                         Unknown
  2.37 Bay West                                    Wendy Tindall                    5201 East River Road            Suite 313                                      Minneapolis       MN      55421                         Proposal Acceptance Agreement                    Unknown
  2.38 BBC Studios                                 Attn Managing Director           1 Television Centre             101 Wood Lane                                  London                    W12 7FA      United Kingdom   Manufacturer's Agreement                         Unknown
  2.39 Becky Davies                                                                 Address on File                                                                                                                        Settlement Agreement                             Unknown
  2.40 BraeElle Exsted                             Sara Exsted                      Address on File                                                                                                                        Photograph and Video Release                     Unknown
                                                                                                                                                                                                                           Independent Contractor Artist
  2.41 Brandi Ingberg                                                               Address on File                                                                                                                        Agreement                                        Evergreen
  2.42 Bruce Walden                                                                 Address on File                                                                                                       Canada           Name License Agreement                            Unknown




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                                                                                                                                    In re Anagram International, Inc.
                                                                                                                                           Case No. 23-90902
                                                                                                                                               Schedule G
                                                                                                                                Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                                 State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                                 for and the nature of the debtor's     State the term
Line unexpired lease                               Creditor Notice Name          Address 1                                  Address 2                   Address 3          City                 State       Zip          Country           interest                               remaining
  2.43 Burton and Burton                           Diane Cruze                   325 Cleveland Road                                                                        Bogart               GA          30622                          Confidentiality Agreement                       Unknown
                                                                                                                                                                                                                                           Non-Exclusive License to Use
  2.44 Burton and Burton                           Diane Cruze                   325 Cleveland Road                                                                        Bogart               GA          30622                          Anagram-Registered Designs                    Unknown
  2.45 Cadden Kostrzewski                          Iola Kostrzewski              Address on File                                                                                                                                           Photograph and Video Release                  Unknown
  2.46 Callan Exsted                               Sara Exsted                   Address on File                                                                                                                                           Photograph and Video Release                  Unknown
                                                   Business Conduct Compliance
  2.47 Canadian Tire Corporation, Limited          Office                        2180 Yonge Street                                                                         Toronto              ON          M4P 2V8      Canada            Business Conduct Agreement                     Unknown
  2.48 Casco Development, LLC                                                    Portland Fish Pier                         Suite 310                                      Portland             ME          04101                          Master Software License Agreement             Evergreen
  2.49 CenterPoint Energy Services, Inc.                                         800 LaSalle Ave.                           Suite 1725                                     Minneapolis          MN          55402-2006                     Gas Sales Agreement                            Unknown
  2.50 CenturyLink-LUMEN                                                         100 Centurylink Drive                                                                     Monroe               LA          71201                          Master Service agreement                       Unknown
                                                   Mr. Shaowen Wang,             East Industrial Zone, Annan Road,
  2.51 Chaoan Hengsheng Industrial Co., Ltd        Owner/General Manager         Anbu                                       Chaoan County                                  Chaozhou             Guangdong                China             Supply Agreement                              Evergreen
  2.52 CharityUSA.com, LLC                                                       600 University Street                      Suite 1000                                     Seattle              WA          98101                          Licensing Agreement                            Unknown
  2.53 Charles Phillips                                                          Address on File                                                                                                                                           License Agreement                             Evergreen
  2.54 CIT                                                                       2375 Venture Drive                                                                        Woodbury             MN          55125                          Master Service agreement                       Unknown

  2.55 Collegiate Licensing Company                                              290 Interstate North                       Suite 200                                      Atlanta              GA          30339                          Authorized Manufacturer's Agreement           Unknown
  2.56 Comcast                                                                   1701 John F Kennedy Boulevard                                                             Philadelphia         PA          19103                          Master Services Agreement                     Unknown
  2.57 Comcast Business                                                          1701 John F Kennedy Boulevard                                                             Philadelphia         PA          19103                          Services Sales Order                          Unknown
       Comcast Cable Communications
  2.58 Management, LLC                                                           5300 W 76th St                                                                            Minneapolis          MN          55439                          Business Service Order Agreement              Unknown
       Comcast Cable Communications                                                                                                                                                                                                        Enterprise Services Master Services
  2.59 Management, LLC                                                           5300 W 76th St                                                                            Minneapolis          MN          55439                          Agreement                                     Unknown
                                                   Attn Alejandro De la Garza
  2.60 Convergram de Mexico S. de R.L. de C.V.     Hesles                        Parras 1720                                Col. El Rosario                                Guadalajara          Jalisco     44890        Mexico            Trademark License Agreement                   Evergreen
                                                   Attn Alejandro De la Garza                                                                                                                                                              First Amended and Restated
  2.61 Convergram de Mexico S. de R.L. de C.V.     Hesles                        Parras 1720                                Col. El Rosario                                Guadalajara          Jalisco     44890        Mexico            Supply/Distribution Agreement                 Unknown
                                                   Attn Alejandro De la Garza    Efrain Gonzalez Luna 2291 Col. Arcos
  2.62 Convertidora Industrial, S.A.B. de. C.V.    Hesles                        Sur                                                                                       Guadalajara          Jalisco     44550        Mexico            Mercantile Commission Agreement               Unknown
       Convertidora Industrial, S.A.B. de. C.V.,
       Convergram de Mexico S. de R.L. de C.V.,
  2.63 and Amscan Holdings, Inc.                                                 Rio de la Loza # 2073 Int. A Col. Atlas.                                                  Guadalajara          Jalisco     44800        Mexico            Management/Ownership Agreement                Unknown
                                                                                                                                                                                                                                           Letter re: First Amendment to
                                                                                                                                                                                                                                           Strawberry Shortcake Merchandise
  2.64 CookieJar Entertainment                                                   266 King Street West                       2nd Floor                                      Toronto              ON          M5V 1H8      Canada            License Agreement                             Unknown
                                                                                                                                                                                                                                           Declaration of Common Control -
  2.65 Corsearch B.V.                                                            Naritaweg 116                                                                             Amsterdam                        1043 CA      The Netherlands   Brand Protection                              Unknown
                                                                                                                                                                                                                                           Power of Attorney Regarding
                                                                                                                                                                                                                                           Protection of Intellectual Property
  2.66 Corsearch B.V.                                                            Naritaweg 116                                                                             Amsterdam                        1043 CA      The Netherlands   Rights                                        Unknown
  2.67 Courtney Brownsworth                                                      deb@carynmodels.com                                                                                                                                       Photograph and Video Release                  Unknown
  2.68 CROSSMARK, Inc.                                                           5100 Legacy Drive                                                                         Plano                TX          95024-3104                     Retail Project Agreement                      Unknown
                                                                                                                                                                                                                                           Master Lease Agreement dated July
                                                                                                                                                                                                                                           10, 2014, including contract numbers
  2.69 Crown Credit Company                                                      40 S. Washington Street                                                                   New Bremen           OH          45869                          40547601 and 40547646                         Evergreen

                                                                                                                                                                                                                                           Short/Long-Term Rental Agreements:
                                                                                                                                                                                                                                           RA3131, RA6676, RA6815, RA6860,
                                                                                                                                                                                                                                           RA6952, RA7326, RA7488, RA7803,
  2.70 Crown Lift Truck                                                          8650 109th Ave N                                                                          Champlin             MN          55316                          RA7985, RA8058, RA8130, RA8309                Unknown
                                                                                                                                                                                                                                           Mutual Confidential Disclosure
  2.71 CryoVation                                                                9B Mary Way                                                                               Hainesport           NJ          08036                          Agreement                                     Unknown
                                                                                                                                                                                                                                           Independent Contractor Artist
  2.72 Cynthia Jacobs                                                            Address on File                                                                                                                                           Agreement                                     Evergreen
       Dah Loong Ornaments Toys (Huizhou) Co.,                                   West District Industrial City Luoyang
  2.73 Ltd                                                                       Town Huizhou                                                                              Guangdong Province                            China             License Agreement                             Unknown
  2.74 Danielle Johnson                                                          Address on File                                                                                                                                           Photograph and Video Release                  Unknown
                                                                                                                                                                                                                                           Independent Contractor Artist
  2.75 David Schwenker                                                           Address on File                                                                                                                                           Agreement                                     Unknown
                                                                                                                                                                                                                                           Merchandising License Agreement
                                                                                                                                                                                                                                           dated 9/16/2008, including
  2.76 Delicias Candy & Unique Ballons             Attn: Arnaldo Villamil        157 Las Flores Street                                                                     Santurce             PR          00911                          amendments                                    Unknown

                                                                                                                                                                                                                                           Master Supply Agreement dated
  2.77 DG Strategic, VII, LLC                                                    100 Mission Ridge                                                                         Goodlettsville       TN          37072                          8/1/2009, and all related amendments          Evergreen
  2.78 DHX Worldwide Limited                                                     3 Shortlands                                                                              London                           W6 8PP       United Kingdom    Letter re: Manufacturer's Agreement            Unknown
  2.79 Dick's Sanitation Inc.                                                    8984 215th Street                                                                         West Lakeville       MN          55044                          Service Agreement                             Evergreen
       Disney Consumer Products Latin America,                                                                                                                                                                                             Schedule to License Agreement
  2.80 Inc.                                                                      2121 Ponce de Leon Blvd                    Suite 920                                      Coral Gables         FL          33134                          #2345687059                                  12/31/2023




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                                                                                                          In re Anagram International, Inc.
                                                                                                                 Case No. 23-90902
                                                                                                                     Schedule G
                                                                                                      Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                       State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                       for and the nature of the debtor's       State the term
Line   unexpired lease                       Creditor Notice Name      Address 1                  Address 2                   Address 3          City             State   Zip          Country   interest                                 remaining
                                             Attn Manager, Contract                                                                                                                              Executive Summary: Contract
 2.81 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             #2200029669                                    12/31/2023
                                             Attn Manager, Contract                                                                                                                              First Amended and Restated License
 2.82 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Agreement #2200029669                           6/30/2024
                                             Attn Manager, Contract                                                                                                                              Schedule to License Agreement
 2.83 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             #2200029669                                     6/30/2024
                                             Attn Manager, Contract                                                                                                                              Amendments to Agreements due to
 2.84 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             PCHI Bankruptcy                                  Unknown
                                                                                                                                                                                                 Eighth Amendment to License
                                                                                                                                                                                                 Agreement Schedule #167793 Dated
 2.85 Disney Consumer Products, Inc.                                   2121 Ponce de Leon Blvd    Suite 920                                      Coral Gables     FL      33134                  December 22, 2016                                Unknown
                                             Attn Manager, Contract                                                                                                                              First Amendment to License
 2.86 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Agreement                                        Unknown
                                                                                                                                                                                                 First Amendment to License
 2.87 Disney Consumer Products, Inc.                                   2121 Ponce de Leon Blvd    Suite 920                                      Coral Gables     FL      33134                  Agreement Schedule #146382                       Unknown
                                                                                                                                                                                                 First Amendment to License
                                                                                                                                                                                                 Agreement Schedule #167796 Dated
 2.88 Disney Consumer Products, Inc.                                   2121 Ponce de Leon Blvd    Suite 920                                      Coral Gables     FL      33134                  December 31, 2016                                Unknown

                                                                                                                                                                                                 First Amendment to License
                                                                                                                                                                                                 Agreement Schedule No. 2003510039
 2.89 Disney Consumer Products, Inc.                                   2121 Ponce de Leon Blvd    Suite 920                                      Coral Gables     FL      33134                  Dated December 31, 2019                          Unknown
                                             Attn Manager, Contract                                                                                                                              Second Amendment to Agreement
 2.90 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Dated October 30, 2003                           Unknown
                                                                                                                                                                                                 Second Amendment to License
 2.91 Disney Consumer Products, Inc.                                   2121 Ponce de Leon Blvd    Suite 920                                      Coral Gables     FL      33134                  Agreement Schedule #146380                       Unknown
                                             Attn Manager, Contract                                                                                                                              Second Amendment to the License
 2.92 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Agreement                                        Unknown
                                             Attn Manager, Contract                                                                                                                              Sixth Amendment to the January 14,
 2.93 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             2011 License Agreement                           Unknown
                                             Attn Manager, Contract                                                                                                                              Standard Terms and Conditions
 2.94 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Agreement                                        Unknown
                                             Attn Manager, Contract                                                                                                                              Third Amendment to the January 12,
 2.95 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             2011 License Agreement                           Unknown
                                             Attn Manager, Contract                                                                                                                              Third Amendment to the License
 2.96 Disney Consumer Products, Inc.         Services                  500 S Buena Vista St.                                                     Burbank          CA      91521-8651             Agreement Dated January 1, 2018                  Unknown
                                                                                                                                                                                                 Facility and Merchandise Authorization
 2.97 Disney ILS                                                       500 S Buena Vista St.                                                     Burbank          CA      91521                  Application                                      Unknown
 2.98 Dolgencorp, LLC                                                  100 Mission Ridge                                                         Goodlettsville   TN      37072                  Master Supply Agreement                         Evergreen
 2.99 Dollar General                                                   100 Mission Ridge                                                         Goodlettsville   TN      37072                  Vendor Rebate Agreement                          Unknown
                                                                                                                                                                                                 Independent Representative
2.100 Drew Matilsky - DREW Companies                                   Address on File                                                                                                           Agreement                                       Evergreen
                                                                                                                                                                                                 Master Recordings License
2.101 Drew's Entertainment                   Thomas Crowley            290 US Hwy 22 West                                                        Green Brook      NJ      08812                  Agreement                                        Unknown
                                                                                                                                                                                                 Agreement for Merchandising
                                             Josh Hall, VP, Business                                                                                                                             Services, and Associated Statements
2.102 Driveline Retail                       Development               3300 Fernbrook Lane        No #200                                        Plymouth         MN      55447                  of Work                                         Evergreen
                                                                                                                                                                                                 Letter Agreement re: Services
2.103 E&R Sales, Inc.                        Elissa Mast, President    4800 Market Square Lane                                                   Midlothian       VA      23112                  Provided for the Family Dollar                  Evergreen
                                                                                                                                                                                                 Letter Agreement re: Services
2.104 E&R Sales, Inc.                        Elissa Mast, President    4800 Market Square Lane                                                   Midlothian       VA      23112                  Provided to Dollar Tree                         Evergreen
2.105 E3 Sales Advisors, LLC                                           333 Moonlight Drive                                                       Shakopee         MN      55379                  Sales Representative Agreement                  8/31/2024
2.106 eCapital Advisors, LLC                                           7900 Xerxes Avenue South   Suite 1300                                     Bloomington      MN      55431                  Anagram BI Services                              Unknown
2.107 eCapital Advisors, LLC                                           7900 Xerxes Avenue South   Suite 1300                                     Bloomington      MN      55431                  Anagram TM1 Services                             Unknown
2.108 eCapital Advisors, LLC                                           7900 Xerxes Avenue South   Suite 1300                                     Bloomington      MN      55431                  Cognos Express Upgrade                           Unknown
2.109 eCapital Advisors, LLC                                           7900 Xerxes Avenue South   Suite 1300                                     Bloomington      MN      55431                  Service Agreement                                Unknown
2.110 Edgell Communications                                            4 Middlebury Blvd                                                         Randolph         NJ      07869                  Contract Re: Advertising                         Unknown
                                                                                                                                                                                                 Independent Contractor Artist
2.111 Edward The Fifth, Inc.                                           Address not available                                                                                                     Agreement                                       Evergreen
2.112 Eli Kostrzewski                        Iola Kostrzewski          Address on File                                                                                                           Photograph and Video Release                     Unknown
2.113 Elliot Tunning                                                   Address on File                                                                                                           Photograph and Video Release                     Unknown
                                                                                                                                                                                                 Mutual Confidential Disclosure
2.114 ENTEGEE, INC. dba E91                                            3530 Digital Dr                                                           Dubuque          IA      52003                  Agreement                                        Unknown
                                                                                                                                                                                                 Letter Agreement re: Maintenance
2.115 ESKO-GRAPHICS INC.                                               8535 Gander Creek Drive                                                   Miamisburg       OH      45342                  Agreement Renewal                               3/31/2026

2.116 ESKO-GRAPHICS INC.                                               8535 Gander Creek Drive                                                   Miamisburg       OH      45342                  General Sales Conditions Agreement               Unknown
                                                                                                                                                 Houthalen-
2.117 ESPA NV                                                          Europark 1030                                                             Helchteren               B-35530      Belgium   Settlement Agreement                             Unknown




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                                                                                                                               In re Anagram International, Inc.
                                                                                                                                      Case No. 23-90902
                                                                                                                                          Schedule G
                                                                                                                           Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                 State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                 for and the nature of the debtor's        State the term
Line unexpired lease                             Creditor Notice Name            Address 1                             Address 2                    Address 3         City              State       Zip          Country   interest                                  remaining
 2.118 Europa Uno Trade                                                          117105, Nagorny Proezd 7                                                             Moscow                                     Russia    EUT Commercial Agreement                           Unknown
       Express Services, Inc. (Express) dba
 2.119 Express Employment Professionals                                          9701 Boardwalk Blvd                                                                  Oklahoma City     OK          73162                  Staffing Agreement                                Unknown
 2.120 Express SRG                                                               3630 Eastham Dr                                                                      Culver City       CA          90232                  Professional Search Agreement                     Unknown
 2.121 Family Dollar                                                             10401 Monroe Rd                                                                      Matthew           NC          28105                  Helium Stand Supply Agreement                    Evergreen
 2.122 Family Dollar                                                             10401 Monroe Rd                                                                      Matthew           NC          28105                  Supplier Agreement                                Unknown
                                                                                                                                                                                                                           Firestone Red Shield Roof System
2.123 Firestone Building Products Company, LLC                                   200 4th Avenue South                                                                 Nashville         TN          37201                  Limited Warranty                                 Unknown
2.124 Flexo Wash, LLC                                                            2010 Plantside Drive                                                                 Louisville        NY          40299                  Equipment Contract                               Unknown
                                                                                                                                                                                                                           Mutual Confidential Disclosure
2.125 Flo Kinzel                                                                 Address on File                                                                                                                           Agreement                                        Unknown
                                                                                                                                                                                                                           Software License and Service
2.126 Fortra                                                                     11095 Viking Drive                    Suite 100                                      Eden Prairie      MN          55344                  Agreement/ Quote                                 Unknown
2.127 Foucart & Associates Inc.                                                  72 Ocean Ave                                                                         Fairhaven         MA          02719                  Master Services Agreement                        Unknown

2.128 Fox Rothschild LLP                         Attn Michael Barabander         49 Market Street                                                                     Morristown        NJ          07960                  Letter Agreement re: Conflict Consent             Unknown
2.129 Foxburg Productions, LLC                                                   1447 Cloverfield Blvd.                                                               Santa Monica      CA          90404                  Material Release Agreement                        Unknown
2.130 Fred Miller                                                                Address on File                                                                                                                           Agreement                                         Unknown
2.131 Gamut One Studios, Inc.                                                    5249 West 73rd Street                 Unit A                                         Edina             MN          55439                  Photograph and Video Release                      Unknown
2.132 GEP Girlfriends Inc.                       Girlfriend's Guide to Divorce   3500 Cornett Road, Building E                                                        Vancouver         BC          V6B 1T8      Canada    Clearance Agreement                               Unknown
2.133 Gleasondale                                                                1270 Northland Drive                  Suite 158                                      Mendota Heights   MN          55120                  Agency Agreement                                 Evergreen
2.134 Grace and Frankie Productions                                              1661 Lincoln Blvd.                    4th Floor                                      Santa Monica      CA          90404                  Material Release Agreement                        Unknown
2.135 Green & Black LLC                                                          14645 Felton Court                    Suite 102                                      Apple Valley      MN          55124                  Service Proposal                                  Unknown
2.136 GS1 US, Inc.                               Eric Hartloff                   Princeton South Corporate Center      300 Charles Ewing Blvd.                        Ewing             NJ          08628                  General Consulting Agreement                      Unknown
2.137 Hallmark                                   Creative Collections            P.O. Box 419580                       MD 287                                         Kansas City       MO          64141-6580             Exhibit 3 Manufacturer's Agreement                Unknown
                                                                                                                                                                                                                           Security Agreement for Digital Material
2.138 Hallmark                                   Creative Collections            P.O. Box 419580                       MD 287                                         Kansas City       MO          64141-6580             Including Lettering Fonts                        Unknown

2.139 Happiness is Us                            Attn Moshe Ben Shushan          85 Ha'Yarkon St.                      Kanot Industrial Zone        PO Box 7068       Gedera                        7057102      Israel    License Acknowledgement Agreement                Unknown
                                                                                                                                                    Delegacion
2.140 Happy Cloud Company, S.A. DE C.V.          Attn Ricardo Vasquez            3a Cerrado Refineria de Salamanca 5   Col. Reynosa Tamaulipas      Azcapotzalco      Mexico D.F                    02200        Mexico    License Agreement                                 Unknown
2.141 Happy Factory, LLC                                                         2169 Mission Street                   2nd Floor                                      San Francisco     CA          94110                  Services Agreement                               Evergreen
2.142 Harlowe Johnson                            Danielle Johnson                Address on File                                                                                                                           Photograph and Video Release                      Unknown
2.143 HIT (MTK) Limited                                                          333 Continental Boulevard                                                            El Segundo        CA          90245                  Manufacturer's Agreement                          Unknown
2.144 Home Depot Credit Services                                                 2455 Paces Ferry Road                                                                Atlanta           GA          30339                  Credit Card Services Agreement                    Unknown
2.145 HSI Productions Inc.                                                       Address not available                                                                                                                     Agreement for Usage and Clearance                 Unknown
2.146 Huebsch Services                                                           2941 Center Court                                                                    Eagan             MN          55121                  Matting Agreement                                Evergreen
2.147 IdentiSys Inc.                                                             7630 Commerce Way                                                                    Eden Prairie      MN          55344                  Installation and Services Agreement               Unknown
                                                                                                                                                                                                                           Mutual Confidential Disclosure
2.148 Impact Converting & Systems Solutions                                      2960 Technology Drive                                                                Rochester Hills   MI          48309                  Agreement                                        Unknown
2.149 Impastor Productions Inc.                                                  555 Brooksbank Avenue, Building 6                                                    North Vancouver   BC          V7J 3S5      Canada    Materials Release                                Unknown
2.150 Independent Paradigm, LLC                                                  11 Newberry Court                                                                    Medford           NJ          08055                  Exclusive License Agreement                      Unknown
                                                                                                                                                                                                                           Services Agreement Dated July 17,
2.151 Inmar Supply Chain Solutions, LLC                                          1th W 4th St                          Suite 500                                      Winston-Salem     NC          27101                  2020 and all Amendments                          Unknown
                                                                                                                                                                                                                           Addendum 2 to Novel Balloon
2.152 Interfacial Solutions, LLC                                                 949 Antler Court                                                                     River Falls       WI          54022                  Materials Project Agreement                      Unknown
2.153 Interfacial Solutions, LLC                                                 949 Antler Court                                                                     River Falls       WI          54022                  Master Consulting Agreement                      Unknown
2.154 Intertek                                                                   1/F A-Ju Digital Tower                284-56, Seongsu-Gu                             Seoul                         133-833      Korea     Payment Advice                                   Unknown
2.155 Involve I.T., Inc.                         Attn: Terry Bonertz             7400 Metro Boulevard                  Suite 100                                      Edina             MN          55439                  Agreement re: Consulting Services                Unknown
                                                 Attn Director, Iowa Prison
2.156 Iowa Department of Corrections             Industries                      510 East 12th Street                                                                 Des Moines        IA          50319                  Subcontracting Agreement                         7/24/2043
2.157 Isaiah Oliver                                                              Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.158 Jacob Gulden (Georgie Gulden)                                              Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.159 Jake Schellsmidt                                                           Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.160 James Sanigular                                                            Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.161 Jan-Pro Cleaning Systems                                                   33 Tenth Avenue South                 Suite 200                                      Hopkins           MN          55343                  Cleaning Agreement                               Unknown
2.162 Jasmine Werner                             Amber Werner                    Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.163 Jeff Koons LLC                             Attn: Lauran Rothstein          475 10th Avenue                                                                      New York          NY          10018                  Letter Agreement re: License                     Unknown
2.164 Jordan Alberino                                                            deb@carynmodels.com                                                                                                                       Photograph and Video Release                     Unknown
                                                                                                                                                                                                                           Independent Contractor Artist
2.165 Judith Angelo                                                              Address on File                                                                                                                           Agreement                                        Unknown
2.166 Katarina Spasojevic                                                        Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.167 Kaylena and Keira Hoffman                  Nichole Hoffman                 Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.168 Kim Hermes                                                                 Address on File                                                                                                                           Photograph and Video Release                     Unknown
2.169 Kisung Industrial Co.                      Toby Hwang                      198-1, Mubong-Ri, Soheul-Up                                                          Pocheon-Si        Kyunggido                Korea     Settlement Agreement                             Unknown
                                                                                                                                                                                                                           Independent Contractor Artist
2.170 Kristin Knych                                                              Address on File                                                                                                                           Agreement                                        Evergreen
2.171 Kristina Pooler                                                            Address on File                                                                                                                           Photograph and Video Release                      Unknown
2.172 L.D. Martin Law Office                                                     1480 White Oak Drive                                                                 Chaska            MN          55318                  Agreement for Legal Services                      Unknown




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                                                                                                                                 Case No. 23-90902
                                                                                                                                     Schedule G
                                                                                                                      Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                               State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                               for and the nature of the debtor's    State the term
Line unexpired lease                                 Creditor Notice Name         Address 1                       Address 2                       Address 3         City              State   Zip       Country          interest                              remaining
 2.173 Lathrop GPM                                                                80 South Eighth Street          500 IDS Center                                    Minneapolis       MN      55402                      Engagement Letter                              Unknown
 2.174 Leslie Olmen                                                               Address on File                                                                                                                        Photograph and Video Release                   Unknown
 2.175 Liberty Carton Company                                                     870 Lousiana Ave South                                                            Minneapolis       MN      55426                      Memorandum of Understanding                   Evergreen
                                                                                                                                                                                                                         Vendor Managed Inventory Stocking
2.176 Liberty Packaging Co                                                        5600 North Highway 169                                                            Minneapolis       MN      55428                      Agreement                                      Unknown
2.177 Lifeworks Services, Inc.                       Contracts Administration     6636 Cedar Ave S                Suite 250                                         Richfield         MN      55423                      Service Agreement                              Unknown
2.178 Linda Bjerknes                                                              Address on File                                                                                                                        Artist Agreement                               Unknown
2.179 Lisa Gibson Marketing                                                       1200 Lyman Avenue                                                                 Wayzata           MN      55391                      Sales Representative Agreement                Evergreen
                                                                                                                                                                                                                         Independent Contractor Artist
2.180 Liz Rust                                                                    Address on File                                                                                                                        Agreement                                     Evergreen
                                                                                                                                                                                                                         Master Services Agreement, and All
2.181 Loffler Companies, Inc.                                                     3745 Louisiana Ave., S.                                                           St. Louis Park    MN      55426                      Associated Unexpired Leases                  12/31/2026
                                                                                                                                                                                                                         Third Amendment to Merchandise
2.182 Lucasfilm Ltd.                                                              1110 Gorgas Ave                                                                   San Francisco     CA      94129                      License Agreement                              Unknown
2.183 Lyam Kostrzewski                               Iola Kostrzewski             Address on File                                                                                                                        Photograph and Video Release                   Unknown
                                                                                                                                                                                                                         Patent and Know-How License
2.184 Magic International Limited                                                 66 Chiltern Street                                                                London                    W1U 4JT   United Kingdom   Agreement                                      Unknown
                                                                                                                                                                                                                         Trailer Interchange and Indemnity
2.185 Malark Industries, Inc                                                      9100 85th Ave N                 Ste 200                                           Brooklyn Park     MN      55445                      Agreement                                     Evergreen
                                                                                                                                                                                                                         Standard Warehouse Terms and
2.186 Malark Industries, Inc                                                      9100 85th Ave N                 Ste 200                                           Brooklyn Park     MN      55445                      Conditions                                     Unknown
                                                                                                                                                                                                                         Sing-A-Tune Balloon Launch Plan
2.187 MarketingLab                                                                10590 Wayzata Blvd. Suite 300                                                     Minnetonka        MN      55305                      Scope of Work                                  Unknown
                                                                                                                                                                                                                         Contract for the Temporary
      Martin Fernando Serrano Vazquez artistically                                                                                                                                                                       Assignment of Reproduction Rights for
2.188 known as Fernando Serrano                                                   Address not available                                                                                                                  Specific Purposes                              Unknown

                                                                                                                                                  F G Wells                                                              Fourth Amendment to License
2.189 Marvel Characters B.V.                                                      500 S Buena Vista St.           MC3301                          Building, 2nd Floor Burbank         CA      91521                      Agreement Dated September 14, 2011            Unknown
                                                                                                                                                                                                                         Permission Agreement to Access
                                                                                                                                                                                                                         Marvel Database Asset Management
2.190 Marvel Characters, Inc.                        Attn Legal Department        417 Fifth Avenue                                                                  New York          NY      10016                      System                                        Unknown
2.191 Mary Sanigular                                                              Address on File                                                                                                                        Photograph and Video Release                  Unknown
2.192 MaryAnn Zastrow and Harrison Zastrow                                        Address on File                                                                                                                        Photograph and Video Release                  Unknown
                                                     Attn General Counsel, MS M1-
2.193 Mattel, Inc.                                   1516                         333 Continental Boulevard                                                         El Segundo        CA      90245                      Services Agreement                           Evergreen
                                                     Attn VP, Legal & Business
2.194 Mattel, Inc.                                   Affairs                      333 Continental Boulevard                                                         El Segundo        CA      90245                      Confidentiality Agreement                     Unknown
                                                                                                                                                                                                                         Independent Contractor Artist
2.195 Maximum Visibility Solutions, LLC                                           Address not available                                                                                                                  Agreement                                    Evergreen
                                                                                                                                                                                                                         Non-Exclusive, Limited Term,
2.196 Mayflower Distributing Company, Inc.           Attn Allen Scarsella         1155 Medallion Drive                                                              Mendota Heights   MN      55120                      Trademark License                           12/31/2025
                                                                                                                                                                                                                         Non-Exclusive License to Use
2.197 Mayflower Distributing Company, Inc.           Attn Allen Scarsella         1155 Medallion Drive                                                              Mendota Heights   MN      55120                      Anagram Created Artwork                      Evergreen
2.198 Mayflower Distributing Company, Inc.           Attn Allen Scarsella         1155 Medallion Drive                                                              Mendola Heights   MN      55120                      Independent Contractor Agreement              Unknown
2.199 Metro Paving                                                                14350 Northdale Blvd                                                              Rogers            MN      55374                      Proposal and Agreement                        Unknown
                                                                                                                                                                                                                         Power of Attorney for Customs and
2.200 Mexus CHB, Inc.                                                             7700 Anagram Drive                                                                Minneapolis       MN      55344                      Forwarding Agent                              Unknown
2.201 Midrange Dynamics (MDNA)                                                    Baarerstrsse 53                                                                   63 Zug                              Switzerland      License Agreement                             Unknown
2.202 Midwest Rubber Service                                                      14307 28th Place North                                                            Minneapolis       MN      55447                      Customer Stock Material Request               Unknown
2.203 Mieko Folks                                                                 Address on File                                                                                                                        Photograph and Video Release                  Unknown
                                                     Jack Taly, Sales Account
2.204 MINNCOR INDUSTRIES                             Manager & Jeff Lonsky, CEO   2420 Long Lake Road                                                               Roseville         MN      55113                      State of Minnesota Income Contract          12/31/2024
                                                                                                                                                                                                                         First Amendment to
                                                     C/O JONES LANG LASALLE                                                                                                                                              Industrial/Warehouse Lease
2.205 MNJV BDC, LLC                                  AMERICAS INC                 7322 OHMS LANE                                                                    EDINA             MN      55439                      Agreement Dated March 29, 2021              12/31/2032
                                                                                                                                                                                                                         Letter Agreement Regarding
2.206 Mohagen Hansen Architecture                                                 1000 Twelve Oaks Center Drive   Suite 200                                         Wayzata           MN      55391                      Professional Service Agreement                Unknown
2.207 Monet Garscia                                  Tamika Garscia               Address on File                                                                                                                        Photograph and Video Release                  Unknown
2.208 NFL Properties LLC                                                          345 Park Avenue                                                                   New York          NY      10154                      Manufacturer's Agreement                      Unknown
2.209 NHL Enterprises                                c/o NHL Enterprises, L.P.    1185 Avenue of the Americas                                                       New York          NY      10036                      Manufacturer's Agreement                      Unknown
2.210 Nirvana Boodhoo                                                             deb@carynmodels.com                                                                                                                    Photograph and Video Release                  Unknown
2.211 Northstar Ballons LLC                                                       5000 E. 29th Street North                                                         Wichita           KS      67220                      Confidentiality Agreement                     Unknown
2.212 Northwind Technologies                                                      17621 46th Ct N                                                                   Loxahatchee       FL      33470                      Statement of Work (SOW)                       Unknown
                                                                                                                                                                                                                         Confidentiality and Non-Disclosure
2.213 Nottingham Spirk Design Associates, Inc.                                    2200 Overlook Road                                                                Cleveland         OH      44106                      Agreement                                     Unknown
                                                                                                                                                                                                                         Industrial/Warehouse Lease
2.214 OIVF II BDC, LLC                               Attn Vice President          c/o Onward Investors            5050 Lincoln Drive, Suite 420                     Edina             MN      55436                      Agreement                                     Unknown




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                                                                                                                                   Case No. 23-90902
                                                                                                                                       Schedule G
                                                                                                                        Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                for and the nature of the debtor's      State the term
Line   unexpired lease                        Creditor Notice Name           Address 1                              Address 2                    Address 3         City            State   Zip          Country           interest                                remaining
                                                                                                                                                                                                                          Clearance Agreement - It's Boy
2.215 Open 4 Business Productions, LLC                                       680 Broadway                           3rd Floor                                      Paterson        NJ      07514                          Balloons                                         Unknown
2.216 Open 4 Business Productions, LLC                                       680 Broadway                           3rd Floor                                      Paterson        NJ      07514                          Clearance Agreement - Mercy                      Unknown
2.217 OPS America Inc.                                                       689 Medina Street N                                                                   Loretto         MN      55357                          Supply Contract                                 Evergreen
                                                                                                                                                                                                                          Sing-A-Tune Value Engineering
2.218 OPS America Inc.                                                       689 Medina Street N                                                                   Loretto         MN      55357                          Agreement                                        Unknown
2.219 OPS Assembly, Inc.                                                     689 Medina Street N                                                                   Loretto         MN      55357                          Master Services Agreement                       Evergreen
2.220 Opus 19 Music LLC                                                      12711 Ventura Blvd                     Suite 170                                      Studio City     CA      91604                          Stock Agreement                                  Unknown
2.221 Pacific 2.1 Entertainment Group, Inc.                                  10351 Santa Monica Blvd.               Suite 300                                      Los Angeles     CA      90025                          Agreement re: Mayans MC                          Unknown
2.222 Pan'an Good Luck Costume Co., Ltd.                                     No. 29, Jiufeng Read, An'wan, Pan'an                                                  Zhejiang                             China             Manufacturer's Agreement                         Unknown
2.223 Paramount Pictures Corporation                                         5555 Melrose Avenue                                                                   Hollywood       CA      90038                          Materials Release                                Unknown
2.224 Park Pictures                                                          184 Fifth Avenue                       8th Floor                                      New York        NY      10010                          Property Release                                 Unknown
                                                                                                                                                                                                                          Spirit Realty, L.P. Sub-Lease
                                                                                                                                                                                                                          Agreement for property located at
                                                                                                                                                                                                                          7700 Anagram Drive | Eden Prairie |
2.225 Party City Holdings Inc.                                               80 Grasslands Road                                                                    Elmsford        NY      10523                          MN | 55344                                      6/30/2039
                                                                                                                                                                                                                          Intellectual Property Cross-License
2.226 Party City Holdings Inc.                                               80 Grasslands Road                                                                    Elmsford        NY      10523                          Agreement                                       Evergreen
2.227 Party City Holdings Inc.                                               80 Grasslands Road                                                                    Elmsford        NY      10523                          Services Agreement                              Evergreen
2.228 Patricia Paolella                                                      Address on File                                                                                                                              Artist Agreement                                 Unknown
                                                                                                                                                                                                                          Power of Attorney Regarding
                                                                                                                                                                                                                          Protection of Intellectual Property
2.229 PBP Research B.V.                                                      Naritaweg 116                                                                         Amsterdam               1043CA       The Netherlands   Rights                                          Evergreen
2.230 Pellet America Corporation              Attn: Lee Robert               2601 West 2nd Street                                                                  Appleton        WI      54914                          Environmental Services Agreement                 Unknown
                                              Attn: Senior Vice President,                                                                                                                                                Foodservice Products Supplier
2.231 Performance Food Group, Inc.            Procurement                    12500 West Creek Pkwy                                                                 Richmond        VA      23238                          Agreement                                        Unknown
2.232 Plutt's Consulting                                                     Address on File                                                                                                                              Consulting Agreement                             Unknown
2.233 POP Party Supply                        Attn: Leanne Anderson          3219 Southwestern Blvd                                                                Orchard Park    NY      14127                          Shelf Agreement                                  Unknown
2.234 Premium Retail Services, Inc.                                          618 Spirit Drive                                                                      Chesterfield    MO      63005                          Retail Services Agreement                        Unknown
                                              Mike Grinberg, Founder &                                                                                                                                                    SEO & Analytics Implementation -
2.235 Proofpoint Marketing LLC                Director of Digital Strategy   5820 Rosewood Lane N.                                                                 Plymouth        MN      55442                          Exhibit A-1                                      Unknown
                                              Mike Grinberg, Founder &                                                                                                                                                    Site Engagement Analysis - Exhibit A-
2.236 Proofpoint Marketing LLC                Director of Digital Strategy   5820 Rosewood Lane N.                                                                 Plymouth        MN      55442                          2                                                Unknown
2.237 Rackspace US, Inc.                      General Counsel                One Fanatical Place                    City of Windcrest                              San Antonio     TX      78218                          Master Services Agreement                        Unknown
                                                                                                                                                                                                                          Props/Set Dressing/Wardrobe
2.238 Remote Broadcasting, Inc.                                              10202 W. Washington Boulevard          The Thalberg Building        Suite 1216        Culver City     CA      90232-3195                     Release                                          Unknown
2.239 Renalyn Paye                                                           deb@carynmodels.com                                                                                                                          Photograph and Video Release                     Unknown
                                                                                                                                                                                                                          Retirement Plan Investment
2.240 Resources Investment Advisors, Inc.                                    4860 College Blvd.                                                                    Overland Park   KS      66211                          Management Agreement                            Evergreen
                                                                                                                                                                                                                          Executive Summary re: Master
2.241 Retail Logistics Excellence                                            Postintaival 7                                                                        Helsinki                00230        Finland           Services Agreement                               Unknown
2.242 RIM Logistics, Ltd.                                                    200 N. Gary Ave                        Suite B                                        Roselle         IL      60172                          Cargo Protection Agreement                       Unknown
                                                                                                                                                                                                                          Detention and Demurrage Addendum
2.243 RIM Logistics, Ltd.                                                    200 N. Gary Ave                        Suite B                                        Roselle         IL      60172                          to Standards Terms                               Unknown
2.244 RIM Logistics, Ltd.                                                    200 N. Gary Ave                        Suite B                                        Roselle         IL      60172                          Importer Security Filing Agreement               Unknown
2.245 Rol-Vac LP                                                             207 Tracy Road                                                                        Dayville        CT      06241                          Joint Development Agreement                     Evergreen
2.246 Rovio Entertainment Ltd.                                               Keilaranta 17                                                                         Espoo                   FI-02150     Finland           Merchandise License Agreement                   Evergreen
                                                                                                                                                                                                                          Authorization to Use Name/ Product/
                                                                                                                                                                                                                          Logo: Flying Stork 32" Mylar Balloon
                                                                                                                                                                                                                          "It's A Boy" for Motion Picture Project
2.247 RSA Films, Inc.                         Attn: Legal Department         634 North La Peer Drive                                                               Los Angeles     CA      90069                          "NAR2 #2290-21                                   Unknown
                                                                                                                                                                                                                          Motion Picture Special Materials
2.248 RSA Films, Inc.                         Attn: Legal Department         634 North La Peer Drive                                                               Los Angeles     CA      90069                          Agreement & Release                              Unknown
2.249 RTA Edenvale 7J Social LLC                                             P.O. Box 1410                                                                         Suisun City     CA      94585                          Third Amendment to Lease                         Unknown
      Ryder Truck Rental, Inc., d/b/a Ryder                                                                                                                                                                               Truck Lease & Service Agreement -
2.250 Transportation Services                                                3615 Hwy 13 W                                                                         Burnsville      MN      55337                          809385 (Yard Tractor)                            3/5/2025
      Ryder Truck Rental, Inc., d/b/a Ryder                                                                                                                                                                               Truck Lease & Service Agreement -
2.251 Transportation Services                                                3615 Hwy 13 W                                                                         Burnsville      MN      55337                          676476 (Trailer)                                5/17/2030
      Ryder Truck Rental, Inc., d/b/a Ryder                                                                                                                                                                               Truck Lease & Service Agreement -
2.252 Transportation Services                                                3615 Hwy 13 W                                                                         Burnsville      MN      55337                          RPL 657144 (Daycab)                             7/18/2030
      Ryder Truck Rental, Inc., d/b/a Ryder                                                                                                                                                                               Truck Lease & Service Agreement -
2.253 Transportation Services                                                3615 Hwy 13 W                                                                         Burnsville      MN      55337                          669177 (Yard Tractor)                            Unknown
2.254 S.A.G. Balloons Company, Ltd.                                          9-11, Higashi Komagata 1-chome         Sumida-ku                                      Tokyo                   1300005      Japan             Licensing Agreement                             Evergreen
      SAM HPRP Chemicals, Inc., d/b/a SAM
2.255 Nutrition                                                              7760 France Avenue                     Suite 1330                                     Bloomington     MN      55435                          Sublease Agreement - Edina, MN                 6/30/2026
2.256 Samuel Hanson                                                          Address on File                                                                                                                              Photograph and Video Release                   Unknown
                                                                                                                    8330 Century Park Ct.,                                                                                Intellectual Property License
2.257 San Deigo Gas & Electric Company        Stephen Johnston               Re Intellectual Property               CPA02                                          San Diego       CA      92123                          Agreement                                      Unknown




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                                                                                                                                             Schedule G
                                                                                                                              Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                       State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                       for and the nature of the debtor's       State the term
Line   unexpired lease                              Creditor Notice Name           Address 1                              Address 2                      Address 3       City              State   Zip          Country          interest                                 remaining
                                                                                                                                                                                                                                 Independent Contractor Artist
2.258 Sara Bowersock Fellure                                                       Address on File                                                                                                                               Agreement                                       Evergreen
2.259 Sarah Shoemaker                                                              Address on File                                                                                                                               Photograph and Video Release                     Unknown
2.260 Sasha Schectman                                                              Address on File                                                                                                                               Photograph and Video Release                     Unknown
2.261 SCG Power Rangers LLC                                                        1027 Newport Avenue                                                                   Pawtucket         RI      02861                         Approval of Manufacturer                         Unknown
2.262 Scott Gardner                                                                Address on File                                                                                                                               Consultant Agreement                             Unknown
2.263 SCP Merchandising, LLC                                                       1020 Olympic Drive                                                                    Batavia           IL      60510                         Master Services Agreement                       2/27/2024
2.264 Seaira Weyker                                                                Address on File                                                                                                                               Photograph and Video Release                     Unknown
2.265 Sesamae Glackler-Riquelme                                                    Address on File                                                                                                                               Photograph and Video Release                     Unknown
2.266 Shawn Dunbar                                                                 Address on File                                                                                                                               Photograph and Video Release                     Unknown
2.267 Siegwerk USA Inc                                                             3535 SW 56th Street                                                                   Des Moines        IA      50321                         Master Services Agreement                       4/25/2028
2.268 Sing-A-Tune Balloon                           Attn John Blackman             6600 W. Rogers Circle                  Suite 1                                        Boca Raton        FL      33487                         License Agreement                                Unknown
                                                                                                                                                         Lafone House,
2.269 Smileyworld Limited                                                         Suite LM13.2.2 The Leathermarket        11/13 Weston Street            Unit 4.1        London                    SE1 3ER      United Kingdom   Suppliers' Charter                               Unknown
2.270 Sonitrol of the Twin Cities Inc.                                            3751 Portland Ave S.                                                                   Minneapolis       MN      55407                         Client Agreement                                 Unknown
                                                    Attn Manager, Synchronization
2.271 SONY/ATV Music Publishing LLC                 Licensing                     8 Music Square West                                                                    Nashville         TN      37203                         Merchandise License Agreement                    Unknown

2.272 Southern Graphic Systems, LLC                                                9300 Winnetka Ave N                                                                   Brooklyn Park     MN      55445                         Amendment to Plate Price Agreement               Unknown
                                                                                                                                                                                                                                 Mutual Confidentiality and
2.273 Southern Graphic Systems, LLC                                                626 West Main Street                   Suite 500                                      Louisville        KY      40202                         Indemnification Agreement                        Unknown
                                                                                                                                                                                                                                 Services Agreement On-Site
2.274 SPAR Marketing Force, Inc.                    Attn: James R. Segreto, CFO    333 Westchester Avenue                 South Building                 Suite 204       White Plains      NY      10604                         Merchandising Services                          Evergreen
                                                                                                                                                                                                                                 Amendment to License Agreement
2.275 Spider-Man Merchandising L.P.                                                1600 Rosecrans Avenue                                                                 Manhattan Beach   CA      90266                         #40318                                           Unknown
2.276 Sprout Social                                                                131 S Dearborn St.                     Suite 700                                      Chicago           IL      60603                         Annual Agreement                                Evergreen
2.277 Stage Polymers, LLC                           Attn Mike Ryan                 4747 Research Forest Dr                #180-295                                       The Woodlands     TX      77381                         Sale of Good Agreement                           Unknown

2.278 Stanley Convergent Security Solutions, Inc.   Lynn Hanson                    13705-26th Avenue North                #120                                           Plymouth          MN      55442                         Installation and Service Agreement              Evergreen
2.279 Steven Bell                                                                  Address on File                                                                                                                               Photograph and Video Release                     Unknown
                                                    c/o Squire Patton Boggs (uk)
2.280 Summerhouse Bidco Limited                     Llp                            Ruthland House                         148 Edmund Street                              Birmingham                B2 2JR       United Kingdom   Supply Agreement                                 Unknown
2.281 Sunshine Balloon Factory                                                     20 City Boulevard West                                                                Orange            CA      92868                         Settlement Agreement                             Unknown
                                                    Attn Vice President of                                                                                                                                                       Hold Harmless Agreement and
2.282 Sysco Corporation and/or its Affiliates       Merchandising                  1390 Enclave Parkway                                                                  Houston           TX      77077                         Guaranty/Warranty of Product                     Unknown
                                                                                                                                                                                                                                 Vending & Office Coffee Service
2.283 Taher, Inc.                                   Bruce Taher, President & CEO 5570 Smetana Drive                                                                      Minnetonka        MN      55343                         Agreement                                       Evergreen
2.284 Tail Wind Informatics Corporation                                          1600 Utica Ave S.                        Suite 140                                      St. Louis Park    MN      55416                         Consulting Services Agreement                   Evergreen
                                                                                                                                                                                                                                 Authorization of Unannounced
2.285 Target Corporation                            Attn Partners Online Help Desk 7000 Target Parkway North                                                             Brooklyn Park     MN      55445                         Compliance Audits (AUCA)                         Unknown

2.286 Target Corporation                            Attn Partners Online Help Desk 7000 Target Parkway North                                                             Brooklyn Park     MN      55445                         Master Services Agreement                        Unknown

2.287 Target Corporation                            Attn Partners Online Help Desk 7000 Target Parkway North                                                             Brooklyn Park     MN      55445                         Partners Online Agreement                        Unknown
                                                                                                                                                                                                                                 Mutual Confidential Disclosure
2.288 Technical Partners Group                                                     6233 W. 97th Street                                                                   Bloomington       MN      55438                         Agreement                                        Unknown
2.289 Technology Dynamics Inc.                                                     1055 Westlakes Drive                   Suite 300                                      Berwyn            PA      19312                         Master Services Agreement                       Evergreen
2.290 Technology Dynamics Inc.                                                     1055 Westlakes Drive                   Suite 300                                      Berwyn            PA      19312                         Confidentiality Agreement                        Unknown
                                                                                                                                                                                                                                 Release / Use of Trademark, Logo or
2.291 The Fairly Odd Productions Inc.                                              9/140-555 Brooksbank Avenue                                                           North Vancouver   BC      V7J 3S5      Canada           Name                                             Unknown
                                                                                                                                                                                                                                 Mutual Confidential Disclosure
2.292 The Imagery                                                                  11804 Kennelly Rd                                                                     Burnsville        MN      55337                         Agreement                                        Unknown
2.293 The Lift                                                                     Ignacio Esteva 50B                     San Miguel Chapultepec                         Mexico City               11850        Mexico           Non-Exclusive Release Agreement                  Unknown
2.294 The Novate Company                                                           26 New York Ave                                                                       White Plains      NY                                    License Agreement                               Evergreen
2.295 The Ohio State University                                                    281 W Lane Ave                                                                        Columbus          OH      43210                         Independent Contractor Agreement                 Unknown
2.296 The Pokemon Company International, Inc.                                      10400 NE 4th Street                    Suite 2800                                     Bellevue          WA      98004                         Manufacturer's Agreement                       12/31/2025

                                                                                   4th Floor, Peninsula Tower - 1,
2.297 The Walt Disney Company                                                      Ganapatrao Kadam Marg, Lower Parel                                                    Mumbai                    400 013      India            Facility and Merchandise Authorization           Unknown
                                                                                   U 2 18 Lexington Dr Norwest Business
2.298 The Wiggles International Pty. Ltd.                                          Park                                                                                  Baulkham Hills    NSW     2153         Australia        Manufacturer's Agreement                         Unknown
                                                                                   Joseph Stevensstraat 7 rue Joseph
2.299 Timelex BV/SRL                                                               Stevens                                                                               Brussels                  1000         Belguim          Letter of Engagement                             Unknown
2.300 Toray Plastics America, Inc.                  Scott Van Winter               50 Belver Avenue                                                                      North Kingstown   RI      02852                         Supply Agreement                                 Unknown
2.301 TREND enterprises, Inc.                       Attn: Kay Fredericks           300 Ninth Ave SW                                                                      New Brighton      MN      55112                         Merchandising License Agreement                  Unknown
                                                                                                                                                                                                                                 International Agreement for
2.302 TSG SERVER & STORAGE, INC                                                    855 Village Center Drive               #344                                           St. Paul          MN      55127-3016                    Acquisition                                      Unknown
2.303 Turkey Hollow Productions Ltd.                                               1950 Franklin Street                                                                  Vancouver         BC      V5L 1R2      Canada           "Turkey Hollow" Product Release                  Unknown




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                                                                                                                                Executory Contracts and Unexpired Leases

       Name of other parties with whom the                                                                                                                                                                                 State what the contract or lease is
       debtor has an executory contract or                                                                                                                                                                                 for and the nature of the debtor's      State the term
Line   unexpired lease                               Creditor Notice Name            Address 1                              Address 2                   Address 3          City             State   Zip          Country   interest                                remaining
                                                                                                                                                                                                                           Customer Information and Contract
2.304 tw telecom holdings inc                                                        10475 Park Meadows Drive                                                              Littleton        CO      80124                  Specifications                                  Unknown
2.305 Tyler Johnson                                                                  Address on File                                                                                                                       Photograph and Video Release                    Unknown
2.306 United Healthcare Insurance Co.-NY                                             P.O. Box 1459                                                                         Minneapolis      MN      55440                  Healthcare Agreement                            Unknown
                                                     Attn: Melinda Miller Manager,
2.307 Universal Parks & Resorts                      Merchandise Compliance          1000 University Studios Plaza          B-110                                          Orlando          FL      32819                  Merchandise Vendor Agreement                    Unknown
                                                                                                                                                                                                                           Clearance Agreement - It's Boy
2.308 Universal Television, LLC                      Superstore                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Balloons                                        Unknown
                                                                                                                                                                                                                           Superstore 4th of July Clearance
2.309 Universal Television, LLC                      Superstore                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Agreement                                       Unknown
                                                                                                                                                                                                                           Superstore Easter Clearance
2.310 Universal Television, LLC                                                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Agreement                                       Unknown
                                                                                                                                                                                                                           Superstore Product Release
2.311 Universal Television, LLC                      Superstore                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Clearance Agreement                             Unknown
                                                                                                                                                                                                                           Superstore The Path Clearance
2.312 Universal Television, LLC                      Superstore                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Agreement                                       Unknown
                                                                                                                                                                                                                           Superstore Variety Clearance
2.313 Universal Television, LLC                      Superstore                      100 Universal City Plaza, Bldg. 2128   Suite J                     Room 100           Universal City   CA      91608                  Agreement                                       Unknown
                                                                                                                                                                                                                           Master Service Agreement for Goods
2.314 Velocity, a Managed Services Company, Inc. Attn Legal Department               7131A Spring Meadows West Drive                                                       Holland          OH      43528                  and Services                                    Unknown
2.315 Vesseler Sanigular                         James & Mary Sanigular              Address on File                                                                                                                       Photograph and Video Release                    Unknown
                                                                                                                                                                                                                           Amendment to Merchandise
2.316 Viacom                                         Ms. Petia Toncheva              1515 Broadway                                                                         New York         NY      10036                  Agreement                                       Unknown
2.317 Viking Automatic Sprinkler Co.                                                 301 York Avenue                                                                       St. Paul         MN      55130                  Inspection Proposal                             Unknown
                                                                                                                                                                                                                           Mutual Confidential Disclosure
2.318 Visions Inc.                                                                   8801 Wyoming Ave N                                                                    Brooklyn Park    MN      55445                  Agreement                                       Unknown
                                                                                                                                                                                                                           Master Services Agreement re: Digital
2.319 Wakefly, Inc.                                                                  293 Boston Post Road West              Suite 140                                      Marlborough      MA      01752                  Marketing Services                             Evergreen
2.320 Wakefly, Inc.                                                                  293 Boston Post Road West              Suite 140                                      Marlborough      MA      01752                  Digital Services Retainer                       Unknown
                                                     Attn General Merchandise                                                                                                                                              General Merchandise Supplier
2.321 Wal-Mart Stores, Inc.                          Manager                         702 SW 8th Street                                                                     Bentonville      AR      72716                  Agreement                                      Evergreen
2.322 Wal-Mart Stores, Inc.                          Attn Vendor Master              702 SW 8th Street                                                                     Bentonville      AR      72716                  Retail Link Agreement                           Unknown
2.323 Wal-Mart Stores, Inc.                                                          1940 Argentia Road                                                                    Mississauga      ON      L5N 1P9      Canada    Supplier Agreement                              Unknown
                                                                                                                                                                                                                           Letter Agreement re: Amendment to
                                                                                                                                                                                                                           License Agreement Dated October 1,
2.324 Walt Disney Records, a Division of ABC, Inc.                                   500 S Buena Vista St.                                                                 Burbank          CA      91521-2708             2014                                            Unknown
2.325 Waste Management National Service, Inc                                         720 E. Butterfield Road                                                               Lombard          IL      60148                  Equipment Lease Agreement                      Evergreen
                                                                                                                                                                                                                           Property Damage Settlement and
2.326 Waste Management of Minnesota, Inc.                                            12448 Pennsylvania Avenue South                                                       Savage           MN      55378                  Release Only                                    Unknown
2.327 Waste Management of Minnesota, Inc.                                            12448 Pennsylvania Avenue South                                                       Savage           MN      55378                  Master Service Agreement                        Unknown
2.328 Wells Fargo Bank N.A.                                                          420 Montgomery Street                                                                 San Francisco    CA      94104                  Consent Under Credit Agreement                  Unknown
2.329 Widen Enterprises, Inc.                                                        6911 Mangrove Lane                                                                    Madison          WI      53713                  Master Service Agreement                       Evergreen
2.330 Wildflower Production LLC                                                      237 High Street                                                                       Walworth         WI      53184                  Non-Exclusive Release Agreement                 Unknown
2.331 William Ferenc                                                                 Address on File                                                                                                                       Artist Agreement                                Unknown
                                                                                                                                                                                                                           Letter Agreement re: Amendment to
                                                                                                                                                                                                                           License Agreement Dated October 1,
2.332 Wonderland Music Company, Inc.                                                 P.O. Box 101623                                                                       Pasadena         CA      91189                  2014                                            Unknown
2.333 Woodridge Productions, Inc.                                                    10202 W. Washington Boulevard          The Thalberg Building       Suite 1216         Culver City      CA      90232-3195             Set Dressing Release                            Unknown
                                                                                                                                                                                                                           Agreement to Use
2.334 Wynonna Earp Season Four Inc.                                                  #350 7330 Fisher Street S.E.                                                          Calgary          AB      T2H 2H8      Canada    Product/Name/Logo                               Unknown
2.335 X-Rite, Inc.                                   Raymond Burnthorn               4300 44th Street SE                                                                   Grand Rapids     MI      49512                  Color Management Agreement                      Unknown
2.336 Yale Mechanical                                Gregg Campbell                  220 W. 81st St                                                                        Minneapolis      MN      55420                  Service Agreement                              Evergreen
2.337 Zinkia Entertainment S.A.                                                      Calle Infantas 27 - 1 planta                                                          Madrid                   28004        Spain     Manufacturing Agreement                         Unknown




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